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                EXHIBIT A
8/20/2019                                   RN Inpatient
                        Case 1:19-cv-11876-FDS           Reviewer job27-1
                                                  Document            in Newton at Tufts12/23/19
                                                                              Filed      Health Plan | Lensa
                                                                                                         Page 2 of 70

                                                                                                                          Sign up      Log in


            RN


            Newton, MA
     SPONSORED SEARCHES

                       part time jobs in my area                                                      full time job openings near me
                Search
                      front desk receptionist jobs                                                       tech support help desk



   RN Inpatient Reviewer job
   c TUFTS HEALTH PLAN                    d NEWTON, MA




       280            RN INPATIENT REVIEWER
                      JOBS
                                                                                                                                         >




       141            JOBS IN
                      NEWTON, MA
                                                                                                                                         >




            30        JOBS AT
                      TUFTS HEALTH PLAN
                                                                                                                                         >




                                      Job                                                                      Company

                    Description                                               Salary                                      Skills




   JOB DESCRIPTION

   The RN Inpatient Reviewer is a licensed professional that is expected to function
   independently in her / his role and is responsible for managing a clinically complex caseload of
   members across one or more types of inpatient settings; acute, subacute, acute rehabilitation,
   LTAC, CORF and others. The RN Inpatient Reviewer is responsible for making the
   determination of medical necessity and, therefore, bene t coverage for multiple products /
   lines of business; such as Commercial (FI, SI and exchange products), state speci c Medicaid

                                                            Exhibit A, p. 1
   programs or Federal programs or in and o t of area (Carelink/Cigna)
https://lensa.com/rn-inpatient-reviewer-jobs/newton/jd/a13f7024f1968fad145f45b56d42ab7f#description                                             1/7
8/20/2019                                   RN Inpatient
                        Case 1:19-cv-11876-FDS           Reviewer job27-1
                                                  Document            in Newton at Tufts12/23/19
                                                                              Filed      Health Plan | Lensa
                                                                                                         Page 3 of 70
   programs, or Federal programs or in and out of area (Carelink/Cigna).
                                                                                                                Sign up   Log in
   The RN Inpatient Reviewer is expected to demonstrate the ability to work independently as
   well as
        RNcollaboratively within a team environment. The RN Inpatient Reviewer will be

   expected to demonstrate sound clinical and health plan business knowledge in their decision
       Newton,
   making      MA
          processes, on behalf of the health plan. A working understanding of departmental and
   corporate business objectives and accountability for outcome measures are critical to the RN
          Search
   Inpatient Reviewer's success in this role.


   The RN Inpatient Reviewer provides timely, clinically appropriate and cost effective utilization
   management and discharge planning activities for THP members receiving services at her /
   his assigned facilities and may be required to oat to provide coverage at unassigned facilities.
   Functions include but are not limited to; application of clinical relevant criteria sets in order to
   determine medical necessity, level of care and/or readiness for transition to a lesser level of
   care setting. The RN Inpatient Reviewer will develop effective working relationships with
   providers to facilitate the transition of the member through their continuum of care following
   department work processes and policies.

   The RN Inpatient Reviewer will be expected to have direct experience with licensed clinical
   criteria sets (such as InterQual or MCG), THP proprietary Medical Necessity Guidelines and
   product speci c payment policies. The RN Inpatient Reviewer may have responsibility for
   multiple types of service reimbursement models, depending upon the LOB and/or assigned
   facilities contractual arrangements. Examples include but may not be limited to DRG (APR
   and MS), case rate and/or per diem reimbursement models.

   The RN Inpatient Reviewer works under the general direction of the Inpatient Team Manager
   or department Manager.



   KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of importance and as
   applicable to assigned role)
   Provide a range of utilization management activities for members in an inpatient setting.
   * Utilize industry standard / plan proprietary criteria for determining the appropriateness of
   the inpatient setting on an initial and concurrent review basis, both acute and post-acute (as
   noted above).
   * Determines reimbursement methodology and schedules concurrent review appropriately
   * Reviews inpatient admissions, continued stays, telephonically or by other electronic means
   for length of stay (LOS) medical necessity discharge planning and care coordination
                                                            Exhibit A, p. 2
https://lensa.com/rn-inpatient-reviewer-jobs/newton/jd/a13f7024f1968fad145f45b56d42ab7f#description                                2/7
8/20/2019                                                   RN Inpatient Reviewer job in Newton at Tufts Health Plan | Lensa
   for length ofCase
                stay (LOS), medical necessity,
                      1:19-cv-11876-FDS        discharge
                                         Document   27-1 planning and carePage
                                                          Filed 12/23/19   coordination
                                                                               4 of 70

   requirements / needs.                                                                                                       Sign up   Log in

   * Identi es and determines medical necessity of out of network requests for services
            RN
   * Performs discharge planning for both acute and post-acute admissions.
   * Identi es complex members and refers member to case management or disease
            Newton, MA
   management program based on member speci c diagnoses, circumstances or psycho social
   needs, and product / LOB program requirements.
          Search
   * May require telephonic and/or onsite presence at assigned facilities
   * Redirects members and providers to in network or in network preferred providers, including
   transition back to the Tufts Health Plan service area.
   * Identi es potential High Risk High Needs members and presents at case rounds for
   inclusion of additional interventions.
   * Identi es potential high cost members for reserve or re-insurance planning.
   * May be required to conducts preauthorization of transplant requests
   * Performs case documentation according to Department standards including but not limited
   to timely completion of daily tasks, timely management of assigned UM events and same day
   case data entry
   * Mentor new and existing staff in process and system changes/updates
   * Facilitate UM/CM rounds
   * Become subject matter expert (SME's) to support the Inpatient Management Initiatives
   including but not limited to Progeny, OON Management, MedHok, Medical Trend
   Management, Cigna Self Insured accounts etc.
   * Assist the Team Manager in day to day activities/assignments to the team as needed.
   Develop effective and collaborative relationships with key customers:
   * With clinical and business staff of assigned facilities and physicians providing direct care to
   THP members in order to: actively participate in the assessment of the member's needs,
   matching the available in network provider and community services to those needs;
   recommend and facilitate adjustments to the care plan and services in place including the
   transition of OON admissions back into the network.
   * With THP Medical Directors to determine ongoing coverage for inpatient services, including
   approved, denied and/or redirected services, ensuring that department business processes
   are followed or variances to the process are escalated, if needed, and agreed to and well
   documented
   * With entities who support the UM function of the Carelink product, Cigna Travel
   * With partner departments in / across THP to coordinate and expedite clinical and
   administrative processes as needed
                                                            Exhibit A, p. 3
https://lensa.com/rn-inpatient-reviewer-jobs/newton/jd/a13f7024f1968fad145f45b56d42ab7f#description                                               3/7
8/20/2019                  Case 1:19-cv-11876-FDS RN Inpatient Reviewer
                                                   Document         27-1| TuftsFiled
                                                                               Health Plan | LinkedIn Page 5 of 70
                                                                                       12/23/19
                 Search

                                                                                                                                                  Set alert for similar jobs


                                                                                                                                           Travis, land your dream job by learning n
        RN Inpatient Reviewer                                                                                                              skills.
        Tufts Health Plan • 705 Mt Auburn Street , Watertown, MA 02472, US
            This job is no longer accepting applications
              1 alum works here

        The RN Inpatient Reviewer is a licensed professional that is expected to
        function independently in her / his role and is responsible for managing a
                                                                                            How you match
        clinically complex caseload of members across one or more types of                  Criteria provided by job poster
                                                                                                                                            COURSE
        inpatient settings; acute, subacute, acute rehabilitation, LTAC, CORF and           Skills                                          Succeeding in a New Job
        others. The RN Inpatient Reviewer is responsible for making the                         Disease Management                          58,126 viewers
        determination of medical necessity and, therefore, benefit coverage for                 Utilization Management
        multiple products / lines of business; such as Commercial (FI, SI and                   Nursing
        exchange products), state specific Medicaid programs, or Federal                                                                                      See my courses
        programs or in and out of area (Carelink/Cigna).                                        Inpatient Care
                                                                                                Management
        The RN Inpatient Reviewer is expected to demonstrate the ability to work                Medicaid                                          Looking for talent? Post a job
        independently as well as collaboratively within a team environment. The                 Case Management
        RN Inpatient Reviewer will be expected to demonstrate sound clinical and                Managed Care
        health plan business knowledge in their decision making processes, on
        behalf of the health plan. A working understanding of departmental and                  Healthcare
        corporate business objectives and accountability for outcome measures                   Public Health
        are critical to the RN Inpatient Reviewer's success in this role.                   Level of education
        The RN Inpatient Reviewer provides timely, clinically appropriate and cost              Bachelor's Degree
        effective utilization management and discharge planning activities for THP
        members receiving services at her / his assigned facilities and may be
        required to float to provide coverage at unassigned facilities. Functions
                                                                                            Contact the job poster
        include but are not limited to; application of clinical relevant criteria sets in                 Scott Morgan
        order to determine medical necessity, level of care and/or readiness for                          Talent Resource Consultant…
                                                                                                                                                 Messaging
        transition to a lesser level of care setting. The RN Inpatient Reviewer will
        develop effective working relationships with providers to facilitate the                          Send InMail
        transition of the member through their continuum of care following                                                                   Search
        department work processes and policies.
        The RN Inpatient Reviewer will be expected to have direct experience with           Job Details                                 Connections to Tufts Health Plan
        licensed clinical criteria sets (such as InterQual or MCG), THP proprietary         Seniority Level                                      Peter Rex
        Medical Necessity Guidelines and product specific payment policies. The             Mid-Senior level                                     Serving People in Business
        RN Inpatient Reviewer may have responsibility for multiple types of service
        reimbursement models, depending upon the LOB and/or assigned                        Industry
        facilities contractual arrangements. Examples include but may not be                Insurance, Mental Health Care,                       John-Michael Partesotti
        limited to DRG (APR and MS), case rate and/or per diem reimbursement                                                                     Attorney-Adviser, Office of the So…
                                                                                            Health, Wellness & Fitness
        models.                                                                                                                                          View all
        The RN Inpatient Reviewer works under the general direction of the                  Employment Type
        Inpatient Team Manager or department Manager.                                       Full-time                                   Recent
                                                                                            Job Functions                                        Jen & the Sales Navigator Tea…
                                                                                            Health Care Provider,                                LinkedIn Offer • Is your LinkedIn …
        KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of                              Customer Service
        importance and as applicable to assigned role)                                                                                           Yosiat Gimbernard                  1
                                                                                                                                                 Sponsored • It's Time to …
               Provide a range of utilization management activities for members                                                                  Morgan Warren
               in an inpatient setting.                                                                                                          Morgan: Hello Travis, As a leader i…
               Utilize industry standard / plan proprietary criteria for determining
               the appropriateness of the inpatient setting on an initial and                                                                    Zack Bowlby
               concurrent review basis, both acute and post-acute (as noted                                                                      Zack: Hello Travis, ROI Amplified …
               above).
               Determines reimbursement methodology and schedules                                                                                Carl Wilson
               concurrent review appropriately                                                                                                   Carl: Yep.
               Reviews inpatient admissions, continued stays, telephonically or                                                                  The Capital Group
               by other electronic means for length of stay (LOS), medical                                                                       Sponsored • What powe…             1
               necessity, discharge planning and care coordination requirements
               / needs.                                                                                                                          Gretchen Mall
               Identifies and determines medical necessity of out of network                                                                     Gretchen: Hi Travis, I hope this fin…
               requests for services
                                                                   Exhibit A, p. 4
https://www.linkedin.com/jobs/view/rn-inpatient-reviewer-at-tufts-health-plan-966741125/
                                                                                                                                                 Ti N                                    1/5
8/20/2019                Case 1:19-cv-11876-FDS RN Inpatient Reviewer
                                                 Document         27-1| TuftsFiled
                                                                             Health Plan | LinkedIn Page 6 of 70
                                                                                     12/23/19
               Performs discharge planning for both acute and post-acute
               Search
               admissions.
               Identifies complex members and refers member to case
               management or disease management program based on member
               specific diagnoses, circumstances or psycho social needs, and
               product / LOB program requirements.
               May require telephonic and/or onsite presence at assigned
               facilities
               Redirects members and providers to in network or in network
               preferred providers, including transition back to the Tufts Health
               Plan service area.
               Identifies potential High Risk High Needs members and presents
               at case rounds for inclusion of additional interventions.
               Identifies potential high cost members for reserve or re-insurance
               planning.
               May be required to conducts preauthorization of transplant
               requests
               Performs case documentation according to Department standards
               including but not limited to timely completion of daily tasks, timely
               management of assigned UM events and same day case data
               entry
               Mentor new and existing staff in process and system
               changes/updates
               Facilitate UM/CM rounds
               Become subject matter expert (SME's) to support the Inpatient
               Management Initiatives including but not limited to Progeny, OON
               Management, MedHok, Medical Trend Management, Cigna Self
               Insured accounts etc.
               Assist the Team Manager in day to day activities/assignments to
               the team as needed.
               Develop effective and collaborative relationships with key
               customers:
               With clinical and business staff of assigned facilities and
               physicians providing direct care to THP members in order to:
               actively participate in the assessment of the member's needs,
               matching the available in network provider and community
               services to those needs; recommend and facilitate adjustments to
               the care plan and services in place including the transition of OON
               admissions back into the network.
               With THP Medical Directors to determine ongoing coverage for
               inpatient services, including approved, denied and/or redirected
               services, ensuring that department business processes are                                    Messaging
               followed or variances to the process are escalated, if needed, and
               agreed to and well documented
               With entities who support the UM function of the Carelink                                Search
               product, Cigna Travel
               With partner departments in / across THP to coordinate and                          Connections to Tufts Health Plan
               expedite clinical and administrative processes as needed
               Prepare cases for presentation at and actively participate in                                Peter Rex
               weekly UM/CM Integrated Rounds.                                                              Serving People in Business
               Participate in committees or as team liaison as needed.
               Maintains professional growth and development through self-                                  John-Michael Partesotti
               directed learning activities and/or involvement in professional,                             Attorney-Adviser, Office of the So…
               civic, and community organizations.
               Performs additional related duties as assigned.                                                      View all
        EDUCATION: (Minimum education & certifications required)                                   Recent
               Registered Nurse with current, unrestricted MA license                                       Jen & the Sales Navigator Tea…
               BSN: Preferred                                                                               LinkedIn Offer • Is your LinkedIn …
        EXPERIENCE: (Years of experience)                                                                   Yosiat Gimbernard                  1
               Minimum of three years of clinical nursing experience.                                       Sponsored • It's Time to …
               Minimum 3 years of UM experience, preferably in an inpatient                                 Morgan Warren
               setting or managed care environment                                                          Morgan: Hello Travis, As a leader i…
        SKILL REQUIREMENTS: (Include interpersonal skills)                                                  Zack Bowlby
               Excellent interpersonal skills to form positive and collaborative                            Zack: Hello Travis, ROI Amplified …
               relationships.
               Strong communication skills                                                                  Carl Wilson
               Excellent negotiation skills                                                                 Carl: Yep.
               Ability to manage tasks to leverage non-clinical resources on                                The Capital Group
               team, provides quarterly audits of the non clinical denial letter                            Sponsored • What powe…             1
               team
               Use professional and clinical judgment to identify issues and                                Gretchen Mall
               escalate accordingly to a supervisor and relevant Tufts Health Plan                          Gretchen: Hi Travis, I hope this fin…
               departments
                                                                Exhibit A, p. 5
https://www.linkedin.com/jobs/view/rn-inpatient-reviewer-at-tufts-health-plan-966741125/
                                                                                                            Ti N                                    2/5
8/20/2019                Case 1:19-cv-11876-FDS RN Inpatient Reviewer
                                                 Document         27-1| TuftsFiled
                                                                             Health Plan | LinkedIn Page 7 of 70
                                                                                     12/23/19
                 Ability to apply nationally recognized standards to support
                 Search
                 utilization management
                 Ability to mentor
                 Ability to assume additional responsibilities such as special
                 projects, while managing a case load
                 Ability to use a laptop to accurately document utilization
                 management activities adhering to department documentation
                 standards
                 Ability to work independently; highly motivated and self--directed
                 with strong time management skills
                 Proficiency with or ability to learn technology for initiating and
                 participating in web/system based communications: webinar,
                 instant messaging, thin client, soft phone or others
                 Proficiency with or ability to learn technology based programs
                 such as Microsoft Word and Excel; other programs as needed
        WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS (include
        special requirements, e.g., lifting, travel, overtime)
                 Fast paced business environment that requires the balancing of
                 multiple demands.
                 Must be able to exercise sound judgment and make evidence
                 based clinical and business decisions
                 Requires skill in responding to inquiries from providers as well as
                 telephonic inquiries from internal and external customers.
        Acts as a professional at all times adhering to the THP Code of Conduct.
        Seeks opportunities to personally and professionally learn and grow.
        WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS (include
        special requirements, e.g., lifting, travel,
        overtime)
        Fast paced office environment handling multiple priority demands. Must
        be able to exercise appropriate judgment when necessary. Requires ability
        to use a personal computer for extended periods of time, prolonged
        periods of sitting and physical ability to file and process documents.
        Ability to work overtime when requested.
        CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.) that
        an employee encounters while working at Tufts Health Plan is considered
        confidential. Exposed to and required to deal with highly confidential and
        sensitive material and must adhere to corporate compliance policy,                                                        Messaging
        department guidelines/policies and all applicable laws and regulations at
        all times.
                                                                                                                              Search
                                                            See less                                                     Connections to Tufts Health Plan
                                                                                                                                  Peter Rex
                                                                                                                                  Serving People in Business
              Estimated salary
        For Registered Nurse in Greater Boston Area at Tufts Health Plan                                                          John-Michael Partesotti
        Base salary                                              Total compensation                                               Attorney-Adviser, Office of the So…
        $72,700       /yr Range: $52K – $101K                      $72,700    /yr Range: $52K – $101K                                     View all
                                                                                                                         Recent
                                                    See more salary insights
                                                                                                                                  Jen & the Sales Navigator Tea…
                                                                                                                                  LinkedIn Offer • Is your LinkedIn …
            PROFINDER                                                                                                             Yosiat Gimbernard                  1
        Put your best foot forward with your application.                                                                         Sponsored • It's Time to …
        Hire a resume writer.                                                                                                     Morgan Warren
                                                                                                    Travis Hedgpeth               Morgan: Hello Travis, As a leader i…
            Request a free quote                                                                    Partner at The He…            Zack Bowlby
                                                                                                                                  Zack: Hello Travis, ROI Amplified …
                                                                                                                                  Carl Wilson
                                                                                                                                  Carl: Yep.
                                                                                                                                  The Capital Group
           7 Weʼre waiting on more data to deliver Competitive intelligence
        Applicants Insights will only be displayed when there are more than 10 applicants
                                                                                                                                  Sponsored • What powe…
                                                                                                                                  Gretchen Mall
                                                                                                                                                                     1

                                                                                                                                  Gretchen: Hi Travis, I hope this fin…

                                                                Exhibit A, p. 6
https://www.linkedin.com/jobs/view/rn-inpatient-reviewer-at-tufts-health-plan-966741125/
                                                                                                                                  Ti N                                    3/5
8/20/2019              Case 1:19-cv-11876-FDS RN Outpatient Reviewer,
                                               Document        27-1Precertiﬁcation Operations
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                                                                                                                                    Sign In




         RN Outpatient Reviewer, Precertiﬁcation Operations

             Watertown, MA                                                                               Posted 7 Days Ago

                                                                                                         Full time
                 Apply
                                                                                                         R276



         We enjoy the important work we do every day on behalf of our members.                       About Us


         Job Summary



         The Clinical Reviewer is a licensed professional – either a Registered Nurse or
         Physical Therapist – that is expected to function independently in her / his                A nonproﬁt organization founded in
         role and is responsible for managing a clinically complex caseload of varied                1979, Tufts Health Plan is nationally rec‐
         requests for services. The Clinical Reviewer is responsible for making the de‐              ognized for its commitment to providing
         termination of medical necessity and, therefore, beneﬁt coverage for multiple               innovative, high-quality health care cov‐
         products / lines of business; such as Commercial (FI, SI and exchange prod‐                 erage. We strive to improve the health
         ucts), state speciﬁc Medicaid and Senior Products (Medicare Advantage and                   and wellness of the diverse communities
         SCO).                                                                                       we serve. Our employees are hard-work‐
                                                                                                     ing, innovative, and collaborative. They
         The Clinical Reviewer ensures consistent and timely disposition of coverage                 look for opportunities to grow and make
         decisions as required by product speciﬁc compliance and regulatory time                     a difference, and they help make us one
         frames. The Clinical Reviewer functions as a member of the Precert / Outpa‐                 of the Top Places to work in the area.
         tient UM team and works under the general direction of the Precertiﬁcation
         Team Manager or department Manager. The Clinical Reviewer is expected to
         demonstrate the ability to work independently as well as collaboratively within
         a team environment. The Clinical Reviewer will be expected to demonstrate
         sound clinical and health plan business knowledge in their decision making
         processes, on behalf of the health plan.

         Job Description




                 Provides all aspects of clinical decision making and support
                 needed to perform utilization management, medical necessity
                 determinations and beneﬁt determinations using applicable
                 coverage documents, purchased clinical guidelines or Medical
                 Necessity Guidelines for clinically complex services / coverage
                                                         Exhibit A, p. 7
https://tuftshealthplan.wd5.myworkdayjobs.com/en-US/THP/job/Watertown-MA/RN-Outpatient-Reviewer--Precertiﬁcation-Operations_R276                  1/3
8/20/2019              Case 1:19-cv-11876-FDS RN Outpatient Reviewer,
                                               Document        27-1Precertiﬁcation Operations
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                 requests in a consistent manner and within established, prod‐
                 uct speciﬁc time frames.
                 Collaborates with Medical Directors when determination to
                 deny a request is indicated, advising the Medical Directors on
                 standard business processes, ensuring those processes are
                 followed or variances to the process are escalated, if needed,
                 and agreed to and well documented.
                 Coaches letter writers to assure that appropriate medical ne‐
                 cessity language is clearly deﬁned in the denial letter.
                 Communicates frequently through the day with in network and
                 non-network physicians, practices, facilities and/or allied
                 health providers.
                 Communicates frequently through the day with members and
                 other external customers (agents acting on behalf of the
                 provider or member or both) regarding the rational for a deter‐
                 mination, as well as the status and disposition of cases.
                 Orients new staff to role as needed.

                 Interfaces between Precertiﬁcation staff and providers when
                 issues arise regarding policy interpretation, potential access
                 availability or other quality assurance issues to ensure that
                 members receive coverage decisions timely within all accredit‐
                 ing and regulatory guideline
                 s.

                 Facilitates communication between Precertiﬁcation and other
                 internal Tufts Health Plan departments by acting as a liaison or
                 committee member on the development or implementation of
                 new programs.

                 Provides input to the Medical Policy Department regarding the
                 development of Medical Necessity Guidelines and adding input
                 to purchased criteria through participation in the IMPAC.
                 Proactively identiﬁes trends in Utilization Management applica‐
                 ble to the precertiﬁcation and outpatient UM processes.
                 Assists in the screening of appeal cases to provide clinical in‐
                 put as needed or requested.

                 Models professionalism and leadership in all capacities of the
                 position to all audiences.

         Requirements

         EDUCATION:

                 Bachelor’s degree in Nursing, Physical Therapy, Physiatry or
                 other related ﬁeld preferred
                 Registered Nurse or Physical Therapist with current a and unre‐
                 stricted Massachusetts license required

         EXPERIENCE:

                 Minimum of ﬁve years clinical experience in utilization man‐
                 agement, case management or quality assurance preferred
                 Previous experience in a managed care setting desirable

         SKILL REQUIREMENTS:
                                                         Exhibit A, p. 8
https://tuftshealthplan.wd5.myworkdayjobs.com/en-US/THP/job/Watertown-MA/RN-Outpatient-Reviewer--Precertiﬁcation-Operations_R276   2/3
8/20/2019                                    RN Outpatient Reviewer,
                      Case 1:19-cv-11876-FDS Document        27-1 Precertiﬁcation Operations Page 10 of 70
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                 Requires an individual with highly developed critical thinking
                 skills and the ability to investigate, evaluate and problem solve
                 using sound clinical judgment and business knowledge.
                 Requires the ability to work in an extremely complex and poten‐
                 tially politically charged environment.
                 Demonstrated skill in responding to inquiries from providers
                 and/or members
                 Must exhibit initiative and creativity in planning of work and be
                 able to resolve cases correctly, effectively, expeditiously and
                 within tight timeframes.
                 Good organizational skills and a customer centered focus
                 required.
                 Individual must be able to use multiple software applications/
                 computer literate.
                 Excellent oral and written communication skills required.

         What we build together changes our customer's health for the better. We are
         looking for talented and innovative people to join our team. Come join us!



                 Apply


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                                                         Exhibit A, p. 9
https://tuftshealthplan.wd5.myworkdayjobs.com/en-US/THP/job/Watertown-MA/RN-Outpatient-Reviewer--Precertiﬁcation-Operations_R276   3/3
10/31/2019                                  (6) RN Reviewer,
                         Case 1:19-cv-11876-FDS      DocumentOutpatient27-1
                                                                       Precertiﬁcation
                                                                                Filed| Tufts Health Plan | LinkedIn
                                                                                        12/23/19           Page 11 of 70
                  Search                                                                                            1  5


                                                                                                                                  Set alert for similar jobs


                                                                                                                           Travis, land your dream job by learning n
        RN Reviewer, Outpatient Precertification                                                                           skills.
        Tufts Health Plan • Watertown, MA, US
             This job is no longer accepting applications
               1 alum works here

        We enjoy the important work we do every day on behalf of our members.          Seniority Level
                                                                                       Associate
        Job Summary                                                                    Industry                             COURSE
                                                                                       Insurance, Financial Services,       Betty Liu on Career Success
        Job Description                                                                                                     166,607 viewers
                                                                                       Hospital & Health Care
        The Clinical Reviewer is a licensed professional – either a Registered
        Nurse preferred or Physical Therapist – that is expected to function           Employment Type                                       See my courses
        independently in her / his role and is responsible for managing a clinically   Full-time
        complex caseload of varied requests for services. The Clinical Reviewer is     Job Functions
        responsible for making the determination of medical necessity and,             Health Care Provider                       Looking for talent? Post a job
        therefore, benefit coverage for multiple products / lines of business; such
        as Commercial (FI, SI and exchange products), state specific Medicaid
        and Medicare (Unify).
        The Clinical Reviewer ensures consistent and timely disposition of
        coverage decisions as required by product specific compliance and
        regulatory time frames. The Clinical Reviewer functions as a member of
        the Precert / Outpatient UM team and works under the general direction
        of the Precertification Team Manager or department Manager. The Clinical
        Reviewer is expected to demonstrate the ability to work independently as
        well as collaboratively within a team environment. The Clinical Reviewer
        will be expected to demonstrate sound clinical and health plan business
        knowledge in their decision making processes, on behalf of the health                                                    Messaging
        plan.
        Key Responsibilities/Essential Functions                                                                             Search messages
                 Provides all aspects of clinical decision making and support
                 needed to perform utilization management, medical necessity                                            Connections to Tufts Health Plan
                 determinations and benefit determinations using applicable
                 coverage documents, purchased clinical guidelines or Medical                                                    Peter Rex
                 Necessity Guidelines for clinically complex services / coverage                                                 Serving People in Business
                 requests in a consistent manner and within established, product
                 specific time frames.                                                                                           John-Michael Partesotti
                 Collaborates with Medical Directors when determination to deny a                                                Attorney-Adviser, Office of the So…
                 request is indicated, advising the Medical Directors on standard                                                        View all
                 business processes, ensuring those processes are followed or
                 variances to the process are escalated, if needed, and agreed to                                       Recent
                 and well documented.
                 Assures that appropriate medical necessity language is clearly                                                  Scott Armanini                   1
                 defined in the denial letter.                                                                                   Sponsored • Exclusive In…
                 Communicates frequently through the day with in network and
                 non-network physicians, practices, facilities and/or allied health                                              Jen & the Sales Navig…           1
                 providers.                                                                                                      LinkedIn Offer • Find lea…
                 Communicates frequently through the day with members and
                 other external customers (agents acting on behalf of the provider                                               SUPREMEiP Law Firm…              1
                 or member or both) regarding the rational for a determination, as                                               Sponsored • Trademark …
                 well as the status and disposition of cases.                                                                    Jen & the Sales Navigator T…
                 Orients new staff to role as needed.                                                                            LinkedIn Offer • Is your LinkedI…
                 Interfaces between Precertification staff and providers when
                 issues arise regarding policy interpretation, potential access                                                  Yosiat Gimbernard                1
                 availability or other quality assurance issues to ensure that                                                   Sponsored • It's Time to …
                 members receive coverage decisions timely within all accrediting
                 and regulatory guidelines.                                                                                      Morgan Warren
                 Facilitates communication between Precertification and other                                                    Morgan: Hello Travis, As a leader…
                 internal Tufts Health Plan departments by acting as a liaison or
                 committee member on the development or implementation of new                                                    Zack Bowlby
                 programs.                                                                                                       Zack: Hello Travis, ROI Amplified…
                                                                                                                                 Carl Wilson
                                                              Exhibit A, p. 10
https://www.linkedin.com/jobs/view/rn-reviewer-outpatient-precertiﬁcation-at-tufts-health-plan-1367134203/                                                             1/4
10/31/2019                                  (6) RN Reviewer,
                         Case 1:19-cv-11876-FDS      DocumentOutpatient27-1
                                                                       Precertiﬁcation
                                                                                Filed| Tufts Health Plan | LinkedIn
                                                                                        12/23/19           Page 12 of 70
                 Provides input to the Medical Policy Department regarding the                                      1  5
                 Search
                 development of Medical Necessity Guidelines and adding input to
                 purchased criteria through participation in the IMPAC.
                 Proactively identifies trends in Utilization Management applicable
                 to the precertification and outpatient UM processes.
                 Assists in the screening of appeal cases to provide clinical input as
                 needed or requested.
                 Models professionalism and leadership in all capacities of the
                 position to all audiences.
        Education
        Requirements
                 Bachelorʼs degree in Nursing, Physical Therapy, Physiatry or other
                 related field preferred
                 Registered Nurse or Physical Therapist with current a and
                 unrestricted Massachusetts license required
        Experience
                 Minimum of five years clinical experience in utilization
                 management, case management or quality assurance preferred
                 Previous experience in a managed care setting desirable
        Skill Requirements
                 Requires an individual with highly developed critical thinking skills
                 and the ability to investigate, evaluate and problem solve using
                 sound clinical judgment and business knowledge.
                 Requires the ability to work in an extremely complex and
                 potentially politically charged environment.
                 Demonstrated skill in responding to inquiries from providers
                 and/or members
                 Must exhibit initiative and creativity in planning of work and be
                 able to resolve cases correctly, effectively, expeditiously and
                 within tight timeframes.
                 Good organizational skills and a customer centered focus
                 required.
                 Individual must be able to use multiple software applications/
                 computer literate.
                 Excellent oral and written communication skills required.
        Working Conditions And Additional Requirements
                 Fast paced business environment that requires prioritization and
                 balancing of multiple demands.
                 Continuous use of PC and telephone required.
                 Ability to adjust work schedule on short notice to adapt to
                 departmental, case driven needs.                                                                                 Messaging
        CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.) that
        an employee encounters while working at Tufts Health Plan is considered
        confidential. Exposed to and required to deal with highly confidential and                                            Search messages
        sensitive material and must adhere to corporate compliance policy,
        department guidelines/policies and all applicable laws and regulations at                                        Connections to Tufts Health Plan
        all times.
                                                                                                                                  Peter Rex
        What we build together changes our customer's health for the better.We                                                    Serving People in Business
        are looking for talented and innovative people to join our team.Come join
        us!                                                                                                                       John-Michael Partesotti
                                                                                                                                  Attorney-Adviser, Office of the So…
                                                             See less                                                                     View all
                                                                                                                         Recent
             PROFINDER                                                                                                            Scott Armanini                   1
                                                                                                                                  Sponsored • Exclusive In…
        Put your best foot forward with your application.                                                                         Jen & the Sales Navig…
        Hire a resume writer.                                                            Travis Hedgpeth                          LinkedIn Offer • Find lea…       1
                                                                                         Partner at The Hedgpeth Law …
          Request a free quote                                                                                                    SUPREMEiP Law Firm…              1
                                                                                                                                  Sponsored • Trademark …
                                                                                                                                  Jen & the Sales Navigator T…
                                                                                                                                  LinkedIn Offer • Is your LinkedI…
                                                                                                                                  Yosiat Gimbernard
          1
        Applicant
                  Weʼre waiting on more data to deliver Competitive intelligence
                  Insights will only be displayed when there are more than 10 applicants
                                                                                                                                  Sponsored • It's Time to …
                                                                                                                                  Morgan Warren
                                                                                                                                                                   1

                                                                                                                                  Morgan: Hello Travis, As a leader…
                                                                                                                                  Zack Bowlby
                                                                                                                                  Zack: Hello Travis, ROI Amplified…
                                                                                                                                  Carl Wilson
                                                               Exhibit A, p. 11
https://www.linkedin.com/jobs/view/rn-reviewer-outpatient-precertiﬁcation-at-tufts-health-plan-1367134203/                                                              2/4
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Utilization Review Clinician
   linkedin.com/jobs/view/utilization-review-clinician-at-tufts-health-plan-943113633




The Utilization Review Clinician is a licensed professional that is expected to function
independently in her / his role and is responsible for managing a clinically complex caseload
of members across one or more types of inpatient settings; acute, subacute, acute
rehabilitation, LTAC, CORF and others. The Utilization Review Clinician is responsible for
making the determination of medical necessity and, therefore, benefit coverage for multiple
products / lines of business; such as Commercial (FI, SI and exchange products), state
specific Medicaid programs, or Federal programs or in and out of area (Carelink/Cigna).

The Utilization Review Clinician is expected to demonstrate the ability to work
independently as well as collaboratively within a team environment. The Utilization Review
Clinician will be expected to demonstrate sound clinical and health plan business knowledge
in their decision making processes, on behalf of the health plan. A working understanding of
departmental and corporate business objectives and accountability for outcome measures
are critical to the Inpatient Manager's success in this role.

The Utilization Review Clinician provides timely, clinically appropriate and cost effective
utilization management and discharge planning activities for THP members receiving
services at her / his assigned facilities and may be required to float to provide coverage at
unassigned facilities. Functions include but are not limited to; application of clinical relevant
criteria sets in order to determine medical necessity, level of care and/or readiness for
transition to a lesser level of care setting. The Utilization Review Clinician will develop
effective working relationships with providers to facilitate the transition of the member
through their continuum of care following department work processes and policies.

The Utilization Review Clinician will be expected to have direct experience with licensed
clinical criteria sets (such as InterQual or MCG), THP proprietary Medical Necessity
Guidelines and product specific payment policies. The Utilization Review Clinician may have
                                                                                                    1/7

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responsibility for multiple types of service reimbursement models, depending upon the LOB
and/or assigned facilities contractual arrangements. Examples include but may not be
limited to DRG (APR and MS), case rate and/or per diem reimbursement models.

The Utilization Review Clinician works under the general direction of the Inpatient Team
Manager or department Manager.




KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of importance and as applicable to
assigned role)

     Provide a range of utilization management activities for members in an inpatient
     setting.
     Utilize industry standard / plan proprietary criteria for determining the
     appropriateness of the inpatient setting on an initial and concurrent review basis,
     both acute and post-acute (as noted above).
     Determines reimbursement methodology and schedules concurrent review
     appropriately
     Reviews inpatient admissions, continued stays, telephonically or by other electronic
     means for length of stay (LOS), medical necessity, discharge planning and care
     coordination requirements / needs.
     Identifies and determines medical necessity of out of network requests for services
     Performs discharge planning for both acute and post-acute admissions.
     Identifies complex members and refers member to case management or disease
     management program based on member specific diagnoses, circumstances or psycho
     social needs, and product / LOB program requirements.
     May require telephonic and/or onsite presence at assigned facilities
     Redirects members and providers to in network or in network preferred providers,
     including transition back to the Tufts Health Plan service area.
     Identifies potential High Risk High Needs members and presents at case rounds for
     inclusion of additional interventions.
     Identifies potential high cost members for reserve or re-insurance planning.
     May be required to conducts preauthorization of transplant requests
     Performs case documentation according to Department standards including but not
     limited to timely completion of daily tasks, timely management of assigned UM events
     and same day case data entry
     Mentor new and existing staff in process and system changes/updates
     Facilitate UM/CM rounds
     Become subject matter expert (SME's) to support the Inpatient Management Initiatives
     including but not limited to Progeny, OON Management, MedHok, Medical Trend
     Management, Cigna Self Insured accounts etc.

                                                                                            2/7

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     Assist the Team Manager in day to day activities/assignments to the team as needed.
     Develop effective and collaborative relationships with key customers:
     With clinical and business staff of assigned facilities and physicians providing direct
     care to THP members in order to: actively participate in the assessment of the
     member's needs, matching the available in network provider and community services
     to those needs; recommend and facilitate adjustments to the care plan and services in
     place including the transition of OON admissions back into the network.
     With THP Medical Directors to determine ongoing coverage for inpatient services,
     including approved, denied and/or redirected services, ensuring that department
     business processes are followed or variances to the process are escalated, if needed,
     and agreed to and well documented
     With entities who support the UM function of the Carelink product, Cigna Travel
     With partner departments in / across THP to coordinate and expedite clinical and
     administrative processes as needed
     Prepare cases for presentation at and actively participate in weekly UM/CM Integrated
     Rounds.
     Participate in committees or as team liaison as needed.
     Maintains professional growth and development through self-directed learning
     activities and/or involvement in professional, civic, and community organizations.
     Performs additional related duties as assigned.

EDUCATION: (Minimum education & certifications required)

     Registered Nurse with current, unrestricted MA license
     BSN: Preferred




EXPERIENCE: (Years of experience)

     Minimum of three years of clinical nursing experience.
     Minimum 3 years of UM experience, preferably in an inpatient setting or managed care
     environment




SKILL REQUIREMENTS: (Include interpersonal skills)

     Excellent interpersonal skills to form positive and collaborative relationships.
     Strong communication skills
     Excellent negotiation skills
     Ability to manage tasks to leverage non-clinical resources on team, provides quarterly
     audits of the non clinical denial letter team

                                                                                               3/7

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     Use professional and clinical judgment to identify issues and escalate accordingly to a
     supervisor and relevant Tufts Health Plan departments
     Ability to apply nationally recognized standards to support utilization management
     Ability to mentor
     Ability to assume additional responsibilities such as special projects, while managing a
     case load
     Ability to use a laptop to accurately document utilization management activities
     adhering to department documentation standards
     Ability to work independently; highly motivated and self--directed with strong time
     management skills
     Proficiency with or ability to learn technology for initiating and participating in
     web/system based communications: webinar, instant messaging, thin client, soft
     phone or others
     Proficiency with or ability to learn technology based programs such as Microsoft Word
     and Excel; other programs as needed


WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS (include special requirements,
e.g., lifting, travel,
Overtime)

     Fast paced business environment that requires the balancing of multiple demands.
     Must be able to exercise sound judgment and make evidence based clinical and
     business decisions
     Requires skill in responding to inquiries from providers as well as telephonic inquiries
     from internal and external customers.




Acts as a professional at all times adhering to the THP Code of Conduct. Seeks opportunities
to personally and professionally learn and grow.

WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS (include special
requirements, e.g., lifting, travel,

overtime)

Fast paced office environment handling multiple priority demands. Must be able to exercise
appropriate judgment when necessary. Requires ability to use a personal computer for
extended periods of time, prolonged periods of sitting and physical ability to file and
process documents. Ability to work overtime when requested.



                                                                                                4/7

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CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.) that an employee
encounters while working at Tufts Health Plan is considered confidential. Exposed to and
required to deal with highly confidential and sensitive material and must adhere to
corporate compliance policy, department guidelines/policies and all applicable laws and
regulations at all times.

Skills

Level of education
     Match

     Master's Degree


Contact the job poster




Scott Morgan

Talent Resource Consultant at MillerCoors




                                                                                           5/7

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Utilization Review Clinician job
     lensa.com/utilization-review-clinician-jobs/newton/jd/2550ac3306bc4b171806e4565f72c642


Tufts Health PlanNewton, MA
313

Utilization Review Clinician

Jobs

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141

Jobs in

Newton, MA

SHOW ME

30

Jobs at

Tufts Health Plan

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Job

Company

Job Description
To ensure that the THPP member population receive coordinated care across the health
care continuum by completing timely concurrent review, proactive discharge planning and
interventions such as UM Aftercare and assessment of case or disease management needs
as established by the Medical Management department of THPP. Assures efficient operation
for the membership with ongoing and continuous improvement in process and outcome.
Responsible for concurrent review processes / interventions and the reviews of acute/post
acute facility LOS and coordinate discharge plans for alternate levels of care and available
community resources. Refers to case management or disease/program (specific diagnoses)

                                                                                               1/3

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to appropriate case manager for program admission as appropriate. This position will work
directly with the Manager/Clinical Lead of Medical Management to assure appropriate LOS,
medical necessity and level of care for the THPP membership.
          KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of importance and as
                                                             applicable to assigned role)

Provide a range of utilization management activities for members in an inpatient setting.

     Utilize industry standard / plan proprietary criteria for determining the
     appropriateness of the inpatient setting on an initial and concurrent review basis,
     both acute and post-acute (as noted above).
     Determines reimbursement methodology and schedules concurrent review
     appropriately
     Reviews inpatient admissions, continued stays, telephonically or by other electronic
     means for length of stay (LOS), medical necessity, discharge planning and care
     coordination requirements / needs.
     Identifies and determines medical necessity of out of network requests for services
     Performs discharge planning for both acute and post-acute admissions.
     Identifies complex members and refers member to case management or disease
     management program based on member specific diagnoses, circumstances or psycho
     social needs, and product / LOB program requirements.
     May require telephonic and/or onsite presence at assigned facilities
     Redirects members and providers to in network or in network preferred providers,
     including transition back to the Tufts Health Plan service area.
     Identifies potential High Risk High Needs members and presents at case rounds for
     inclusion of additional interventions.
     Identifies potential high cost members for reserve or re-insurance planning.
     May be required to conducts preauthorization of transplant requests
     Performs case documentation according to Department standards including but not
     limited to timely completion of daily tasks, timely management of assigned UM events
     and same day case data entry
     Mentor new and existing staff in process and system changes/updates
     Facilitate UM/CM rounds
     Become subject matter expert (SME's) to support the Inpatient Management Initiatives
     including but not limited to Progeny, OON Management, MedHok, Medical Trend
     Management, Cigna Self Insured accounts etc.
     Assist the Team Manager in day to day activities/assignments to the team as needed.

Develop effective and collaborative relationships with key customers:




                                                                                            2/3

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      With clinical and business staff of assigned facilities and physicians providing direct
      care to THP members in order to: actively participate in the assessment of the
      member's needs, matching the available in network provider and community services
      to those needs; recommend and facilitate adjustments to the care plan and services in
      place including the transition of OON admissions back into the network.
      With THP Medical Directors to determine ongoing coverage for inpatient services,
      including approved, denied and/or redirected services, ensuring that department
      business processes are followed or variances to the process are escalated, if needed,
      and agreed to and well documented
      With entities who support the UM function of the Carelink product, Cigna Travel
      With partner departments in / across THP to coordinate and expedite clinical and
      administrative processes as needed

Prepare cases for presentation at and actively participate in weekly UM/CM Integrated
Rounds.

Participate in committees or as team liaison as needed.

Maintains professional growth and development through self-directed learning activities
and/or involvement in professional, civic, and community organizations.

Performs additional related duties as assigned.

Application currently closed

This job was posted on Wed Dec 05 2018 and expired on Mon Dec 10 2018.

Similar jobs in the area




                                                                                                3/3

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Nurse Reviewer - RI at Tufts Health Plan
  disabledperson.com/jobs/11513478-nurse-reviewer-ri


                                                Jobs
                               Nurse Reviewer - RI at Tufts Health Plan

                                 Posted in Other 30+ days ago.

                      This job brought to you by America's Job Exchange

                                        Type: Full Time
                              Location: Providence, Rhode Island




Job Description:
The Nurse Reviewer is a licensed professional (Registered Nurse) that is expected to
function independently in her / his role and is responsible for managing a clinically complex
caseload of members across one or more types of outpatient and inpatient (acute,
subacute, acute rehabilitation, LTAC, and/or CORF) settings. The Nurse Reviewer ensures
consistent and timely disposition of coverage decisions as required by product specific
compliance and regulatory time frames. The Nurse Reviewer functions as a member of the
Clinical Services team and works under the general direction of the Senior Inpatient
Manager.

The Nurse Reviewer is responsible for making the determination of medical necessity and,
therefore, benefits coverage for Rhode Island Together members. The Nurse Reviewer is
expected to work collaboratively within a team environment. The Nurse Reviewer will be
expected to demonstrate sound clinical and health plan business knowledge in their
decision making processes, on behalf of the health plan. A working understanding of
departmental and corporate business objectives and accountability for outcome measures
are critical to the Nurse Reviewer's success in this role.

The Nurse Reviewer provides timely, clinically appropriate and cost effective utilization
management and discharge planning activities for members receiving services at her / his
assigned facilities and may be required to float to provide coverage at unassigned facilities.
The Nurse Reviewer functions include but are not limited to; application of clinical relevant
criteria sets in order to determine medical necessity of inpatient and outpatient services,
level of care and/or readiness for transition to a lesser level of care setting. The Nurse
                                                                                                 1/4

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Reviewer will develop effective working relationships with providers to facilitate the
transition of the member through their continuum of care following department work
processes and policies.

The Nurse Reviewer will be expected to have direct experience with licensed clinical criteria
sets (such as InterQual or THP proprietary Medical Necessary Guidelines (MNG's), and
product specific payment policies. The Nurse may have responsibility for multiple types of
service reimbursement models, depending upon the LOB and/or assigned facilities
contractual arrangements. Examples include but may not be limited to DRG (APR and MS),
case rate and/or per diem reimbursement models.

KEY RESPONSIBILITIES

Provide a range of utilization management activities for members in an inpatient and
outpatient settings.

Inpatient:


* Utilize industry standard / plan proprietary criteria for determining the appropriateness of
the inpatient setting on an initial and concurrent review basis, both acute and post-acute
* Determines and schedules concurrent review appropriately
* Provides all aspects of clinical decision making and support needed to perform utilization
management, medical necessity determinations and benefit determinations for clinically
complex services / coverage requests in a consistent manner and within established,
product specific time frames.


* Reviews inpatient admissions, continued stays, telephonically or by other electronic means
for length of stay (LOS), medical necessity, discharge planning and care coordination
requirements / needs.
* Performs discharge planning for both acute and post-acute admissions.
* Identifies complex members and refers member to case management or disease
management program based on member specific diagnoses, circumstances or psychosocial
needs, and product / LOB program requirements.
* May require an onsite presence at assigned facilities
* Identifies potential High Risk High Needs members and presents at case rounds for
inclusion of additional interventions.
* Identifies potential high cost members for reserve or re-insurance planning.

Outpatient/Precertification:



* Utilize industry standard / plan proprietary criteria for determining the appropriateness of
                                                                                                 2/4

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certain outpatient services and procedures.
* Identifies and determines medical necessity of out of network requests for services
* Redirects members and providers to in-network while adhering to Continuity of Care RI
contract requirements.
* Conducts preauthorization of transplant requests using applicable coverage documents,
InterQual or Medically Necessary Criteria.
* Proactively identifies trends in Utilization Management applicable to the precertification
and outpatient UM processes.
* Interfaces between Precertification staff and providers when issues arise regarding policy
interpretation, potential access availability or other quality assurance issues to ensure that
members receive coverage decisions timely within all accrediting and regulatory guidelines.

Develop effective and collaborative relationships with key customers:



* With clinical and business staff of assigned facilities and physicians providing direct care to
Rhode Island Together members in order to: actively participate in the assessment of the
member's needs, matching the available in network provider and community services to
those needs; recommend and facilitate adjustments to the care plan and services in place
including the transition of OON admissions back into the network.
* With THP Medical Directors to determine ongoing coverage for inpatient services,
including approved, denied and/or redirected services, ensuring that department business
processes are followed or variances to the process are escalated, if needed, and agreed to
and well documented
* Performs case documentation according to Department standards including but not
limited to timely completion of daily tasks, timely management of assigned UM events and
same day case data entry
* Coaches letter writers to assure that appropriate medical necessity language is clearly
defined in the denial letter.
* Communicates frequently through the day with in network and non-network physicians,
practices, facilities and/or allied health providers as appropriate.
* Communicates frequently through the day with external customers (agents acting on
behalf of the provider or member or both) regarding the rational for a determination, as
well as the status and disposition of cases, as appropriate.
* Orients new staff to role as needed.

Prepare cases for presentation at and actively participate in weekly UM/CM Integrated
Rounds.

Maintains professional growth and development through self-directed learning activities
and/or involvement in professional, civic, and community organizations.

Performs additional related duties as assigned.
                                                                                                    3/4

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EDUCATION:



* Registered Nurse with current, unrestricted MA and/or RI license
* BSN: Preferred

EXPERIENCE:



* Minimum of five years of clinical nursing experience of which a minimum of 3 years of UM
experience, preferable in an inpatient setting or managed care environment.

SKILL REQUIREMENTS:


* Excellent interpersonal skills to form positive and collaborative relationships.
* Strong communication skills
* Excellent negotiation skills
* Ability to manage tasks to leverage non-clinical resources on team
* Use professional and clinical judgment to identify issues and escalate accordingly to a
supervisor and relevant Tufts Health Plan departments
* Ability to apply nationally recognized standards to support utilization management
* Ability to use a laptop to accurately document utilization management activities adhering
to department documentation standards
* Ability to work independently; highly motivated and self--directed with strong time
management skills
* flexibility
* Proficiency with or ability to learn technology for initiating and participating in web/system
based communications: webinar, instant messaging, thin client, soft phone or others
* Proficiency with or ability to learn technology based programs such as Microsoft Word and
Excel; other programs as




                                                                                                   4/4

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RN Inpatient Reviewer job
   lensa.com/rn-inpatient-reviewer-jobs/newton/jd/a13f7024f1968fad145f45b56d42ab7f


Job Description
The RN Inpatient Reviewer is a licensed professional that is expected to function
independently in her / his role and is responsible for managing a clinically complex caseload
of members across one or more types of inpatient settings; acute, subacute, acute
rehabilitation, LTAC, CORF and others. The RN Inpatient Reviewer is responsible for making
the determination of medical necessity and, therefore, benefit coverage for multiple
products / lines of business; such as Commercial (FI, SI and exchange products), state
specific Medicaid programs, or Federal programs or in and out of area (Carelink/Cigna).

The RN Inpatient Reviewer is expected to demonstrate the ability to work independently as
well as collaboratively within a team environment. The RN Inpatient Reviewer will be
expected to demonstrate sound clinical and health plan business knowledge in their
decision making processes, on behalf of the health plan. A working understanding of
departmental and corporate business objectives and accountability for outcome measures
are critical to the RN Inpatient Reviewer's success in this role.

The RN Inpatient Reviewer provides timely, clinically appropriate and cost effective
utilization management and discharge planning activities for THP members receiving
services at her / his assigned facilities and may be required to float to provide coverage at
unassigned facilities. Functions include but are not limited to; application of clinical relevant
criteria sets in order to determine medical necessity, level of care and/or readiness for
transition to a lesser level of care setting. The RN Inpatient Reviewer will develop effective
working relationships with providers to facilitate the transition of the member through their
continuum of care following department work processes and policies.

The RN Inpatient Reviewer will be expected to have direct experience with licensed clinical
criteria sets (such as InterQual or MCG), THP proprietary Medical Necessity Guidelines and
product specific payment policies. The RN Inpatient Reviewer may have responsibility for
multiple types of service reimbursement models, depending upon the LOB and/or assigned
facilities contractual arrangements. Examples include but may not be limited to DRG (APR
and MS), case rate and/or per diem reimbursement models.

The RN Inpatient Reviewer works under the general direction of the Inpatient Team
Manager or department Manager.

KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of importance and as applicable to
assigned role)
Provide a range of utilization management activities for members in an inpatient setting.
                                                                                                    1/3

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* Utilize industry standard / plan proprietary criteria for determining the appropriateness of
the inpatient setting on an initial and concurrent review basis, both acute and post-acute (as
noted above).
* Determines reimbursement methodology and schedules concurrent review appropriately
* Reviews inpatient admissions, continued stays, telephonically or by other electronic means
for length of stay (LOS), medical necessity, discharge planning and care coordination
requirements / needs.
* Identifies and determines medical necessity of out of network requests for services
* Performs discharge planning for both acute and post-acute admissions.
* Identifies complex members and refers member to case management or disease
management program based on member specific diagnoses, circumstances or psycho social
needs, and product / LOB program requirements.
* May require telephonic and/or onsite presence at assigned facilities
* Redirects members and providers to in network or in network preferred providers,
including transition back to the Tufts Health Plan service area.
* Identifies potential High Risk High Needs members and presents at case rounds for
inclusion of additional interventions.
* Identifies potential high cost members for reserve or re-insurance planning.
* May be required to conducts preauthorization of transplant requests
* Performs case documentation according to Department standards including but not
limited to timely completion of daily tasks, timely management of assigned UM events and
same day case data entry
* Mentor new and existing staff in process and system changes/updates
* Facilitate UM/CM rounds
* Become subject matter expert (SME's) to support the Inpatient Management Initiatives
including but not limited to Progeny, OON Management, MedHok, Medical Trend
Management, Cigna Self Insured accounts etc.
* Assist the Team Manager in day to day activities/assignments to the team as needed.
Develop effective and collaborative relationships with key customers:
* With clinical and business staff of assigned facilities and physicians providing direct care to
THP members in order to: actively participate in the assessment of the member's needs,
matching the available in network provider and community services to those needs;
recommend and facilitate adjustments to the care plan and services in place including the
transition of OON admissions back into the network.
* With THP Medical Directors to determine ongoing coverage for inpatient services,
including approved, denied and/or redirected services, ensuring that department business
processes are followed or variances to the process are escalated, if needed, and agreed to
and well documented
* With entities who support the UM function of the Carelink product, Cigna Travel
* With partner departments in / across THP to coordinate and expedite clinical and
administrative processes as needed

                                                                                                    2/3

                                Exhibit A, p. 25
        Case 1:19-cv-11876-FDS Document 27-1 Filed 12/23/19 Page 27 of 70

Prepare cases for presentation at and actively participate in weekly UM/CM Integrated
Rounds.
Participate in committees or as team liaison as needed.
Maintains professional growth and development through self-directed learning activities
and/or involvement in professional, civic, and community organizations.
Performs additional related duties as assigned.

This job was posted on Tue Jan 08 2019 and expired on Sun Jan 13 2019.




                                                                                          3/3

                              Exhibit A, p. 26
10/31/2019                                    (6) Clinical
                         Case 1:19-cv-11876-FDS            RN Reviewer,
                                                     Document           Outpatient
                                                                     27-1          | Tufts 12/23/19
                                                                                Filed      Health Plan | LinkedIn
                                                                                                            Page 28 of 70
                  Search                                                                                           1    5


                                                                                                                                  Set alert for similar jobs
                                                                                                                         People also viewed
                                                                                                                                      Surgical ICU Registered
        Clinical RN Reviewer, Outpatient                                                                                              Nurse
                                                                                                                                      connectRN Inc.
                                                                                                                                      Boston, Massachusetts
        Tufts Health Plan • Watertown, MA, US
             This job is no longer accepting applications                                                                             3 days ago · Easy Apply
               1 alum works here
                                                                                                                                      Senior Health Care Analyst
                                                                                                                                      Tufts Health Plan
        We enjoy the important work we do every day on behalf of our members.          Seniority Level                                   Watertown, MA, US
                                                                                       Associate                                          Be an early applicant
        Job Summary                                                                    Industry                                       1 week ago
        The Clinical Reviewer is a licensed professional – either a Registered         Insurance, Financial Services,
        Nurse preferred or Physical Therapist – that is expected to function           Hospital & Health Care                         Senior Associate – Life
        independently in her / his role and is responsible for managing a clinically                                                  Sciences, Technical…
        complex caseload of varied requests for services. The Clinical Reviewer is     Employment Type                                KPMG US
        responsible for making the determination of medical necessity and,             Full-time                                      Boston, MA, US
        therefore, benefit coverage for multiple products / lines of business; such    Job Functions                                      Be an early applicant
        as Commercial (FI, SI and exchange products), state specific Medicaid          Health Care Provider
        and Senior Products (Medicare Advantage and SCO).                                                                             4 days ago
        The Clinical Reviewer ensures consistent and timely disposition of                                                            Telemetry Registered Nurse
        coverage decisions as required by product specific compliance and                                                             AP Healthcare (Cross
        regulatory time frames. The Clinical Reviewer functions as a member of                                                        Country Search)
        the Precert / Outpatient UM team and works under the general direction                                                        Greater Boston Area
        of the Precertification Team Manager or department Manager. The Clinical
        Reviewer is expected to demonstrate the ability to work independently as                                                          Be an early applicant
        well as collaboratively within a team environment. The Clinical Reviewer
        will be expected to demonstrate sound clinical and health plan business                                                       3 weeks ago · Easy Apply
        knowledge in their decision making processes, on behalf of the health
        plan.                                                                                                                     Principal Regulatory Affairs
                                                                                                                                  Specialist
                                                                                                                              Messaging
        Job Description                                                                                                           Cardinal Health
                                                                                                                                  Mansfield, MA, US
        KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of                                                               Search messages
                                                                                                                                      Be an early applicant
        importance)
                 Provides all aspects of clinical decision making and support                                           Connections2toweeks
                                                                                                                                       Tuftsago
                                                                                                                                            Health Plan
                 needed to perform utilization management, medical necessity
                 determinations and benefit determinations using applicable                                                      PeterSoftware
                                                                                                                                        Rex Development
                 coverage documents, purchased clinical guidelines or Medical                                                    Serving People in Business
                                                                                                                                      Engineer
                 Necessity Guidelines for clinically complex services / coverage                                                      Amazon Partesotti
                 requests in a consistent manner and within established, product                                                 John-Michael
                                                                                                                                         Cambridge, MA, US
                 specific time frames.                                                                                           Attorney-Adviser, Office of the So…
                 Collaborates with Medical Directors when determination to deny a                                                          1 connection works here
                 request is indicated, advising the Medical Directors on standard                                                        View all
                 business processes, ensuring those processes are followed or                                                         2 weeks ago
                 variances to the process are escalated, if needed, and agreed to                                       Recent
                 and well documented.                                                                                                Registered
                                                                                                                                 ScottCheshire    Nurse
                                                                                                                                       ArmaniniMedical
                 Coaches letter writers to assure that appropriate medical                                                       Sponsored • Exclusive   Center 1
                                                                                                                                                        In…
                 necessity language is clearly defined in the denial letter.                                                            Keene, NH, US
                 Communicates frequently through the day with in network and                                                     Jen & theBeSales Navig…
                                                                                                                                             an early applicant 1
                 non-network physicians, practices, facilities and/or allied health                                              LinkedIn Offer • Find lea…
                 providers.                                                                                                           1 week ago
                 Communicates frequently through the day with members and                                                        SUPREMEiP Law Firm…               1
                 other external customers (agents acting on behalf of the provider                                               Sponsored  • Trademark
                                                                                                                                      Manager    of Risk …
                 or member or both) regarding the rational for a determination, as                                                    Adjustment
                                                                                                                                 Jen &Tufts
                                                                                                                                       the Sales   Coding and…
                 well as the status and disposition of cases.                                                                               HealthNavigator
                                                                                                                                 LinkedInWatertown,Plan T…
                                                                                                                                         Offer • Is your
                 Orients new staff to role as needed.                                                                                                MA, LinkedI…
                                                                                                                                                         US
                 Interfaces between Precertification staff and providers when                                                    Yosiat Gimbernard
                                                                                                                                          1 alum works here 1
                 issues arise regarding policy interpretation, potential access                                                  Sponsored • It's Time to …
                 availability or other quality assurance issues to ensure that                                                        2 weeks  ago · Easy Apply
                 members receive coverage decisions timely within all accrediting                                                Morgan   Warren
                 and regulatory guidelines.                                                                                      Morgan: Hello Travis, As a leader…
                 Facilitates communication between Precertification and other                                                         RN Supervisor, Clinical
                 internal Tufts Health Plan departments by acting as a liaison or                                                ZackQuality
                                                                                                                                       Bowlbyand Analysis…
                 committee member on the development or implementation of new                                                    Zack:Tufts
                                                                                                                                       Hello Health
                                                                                                                                             Travis, ROI
                                                                                                                                                      PlanAmplified…
                 programs.                                                                                                               Watertown, MA, US
                                                                                                                                 Carl Wilson
                                                              Exhibit A, p. 27
https://www.linkedin.com/jobs/view/clinical-rn-reviewer-outpatient-at-tufts-health-plan-1496666709/                                                                    1/4
10/31/2019                                    (6) Clinical
                         Case 1:19-cv-11876-FDS            RN Reviewer,
                                                     Document           Outpatient
                                                                     27-1          | Tufts 12/23/19
                                                                                Filed      Health Plan | LinkedIn
                                                                                                            Page 29 of 70
                Provides input to the Medical Policy Department regarding the                                            Be an early applicant
                Search                                                                                             1     5
                development of Medical Necessity Guidelines and adding input to                                      3 weeks ago
                purchased criteria through participation in the IMPAC.
                Proactively identifies trends in Utilization Management applicable
                to the precertification and outpatient UM processes.                                                                  Sr. Staff Product Risk
                Assists in the screening of appeal cases to provide clinical input as                                                 Manager
                needed or requested.                                                                                                  Dräger
                Models professionalism and leadership in all capacities of the                                                        Andover, Massachusetts, United
                                                                                                                                      States
                position to all audiences.
                                                                                                                                           2 alumni work here
        Requirements
                                                                                                                                      1 month ago · Easy Apply
        JOB QUALIFICATIONS: KNOWLEDGE/SKILLS/ABILITIES
        Education
                Bachelorʼs degree in Nursing, Physical Therapy, Physiatry or other                                         Travis, land your dream job by learning n
                related field preferred                                                                                    skills.
                Registered Nurse or Physical Therapist with current a and
                unrestricted Massachusetts license required
                                                                                                                            COURSE
        Experience                                                                                                          Giving Your Elevator Pitch
                Minimum of five years clinical experience in utilization                                                    220,807 viewers
                management, case management or quality assurance preferred
                Previous experience in a managed care setting desirable
                                                                                                                                             See my courses
        Skill Requirements
                Requires an individual with highly developed critical thinking skills
                and the ability to investigate, evaluate and problem solve using                                                  Looking for talent? Post a job
                sound clinical judgment and business knowledge.
                Requires the ability to work in an extremely complex and
                potentially politically charged environment.
                Demonstrated skill in responding to inquiries from providers
                and/or members
                Must exhibit initiative and creativity in planning of work and be
                able to resolve cases correctly, effectively, expeditiously and
                within tight timeframes.
                Good organizational skills and a customer centered focus
                required.
                Individual must be able to use multiple software applications/
                computer literate.
                Excellent oral and written communication skills required.
        WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS: (include                                                                 Messaging
        special requirements, e.g., lifting, travel, overtime)
                Fast paced business environment that requires prioritization and
                balancing of multiple demands.                                                                               Search messages
                Continuous use of PC and telephone required.
                Ability to adjust work schedule on short notice to adapt to                                             Connections to Tufts Health Plan
                departmental, case driven needs.
        CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.)                                                   Peter Rex
        that an employee encounters while working at Tufts Health Plan is                                                        Serving People in Business
        considered confidential. Exposed to and required to deal with highly
        confidential and sensitive material and must adhere to corporate                                                         John-Michael Partesotti
        compliance policy, department guidelines/policies and all applicable laws                                                Attorney-Adviser, Office of the So…
        and regulations at all times.                                                                                                    View all
        What we build together changes our customer's health for the better.We                                          Recent
        are looking for talented and innovative people to join our team.Come join
        us!                                                                                                                      Scott Armanini                   1
                                                                                                                                 Sponsored • Exclusive In…
                                                             See less                                                            Jen & the Sales Navig…
                                                                                                                                 LinkedIn Offer • Find lea…       1

             PROFINDER
                                                                                                                                 SUPREMEiP Law Firm…              1
                                                                                                                                 Sponsored • Trademark …
        Put your best foot forward with your application.                                                                        Jen & the Sales Navigator T…
        Hire a resume writer.                                                           Travis Hedgpeth                          LinkedIn Offer • Is your LinkedI…
                                                                                        Partner at The Hedgpeth Law …            Yosiat Gimbernard
          Request a free quote                                                                                                   Sponsored • It's Time to …       1
                                                                                                                                 Morgan Warren
                                                                                                                                 Morgan: Hello Travis, As a leader…
                                                                                                                                 Zack Bowlby
             2
                                                                                                                                 Zack: Hello Travis, ROI Amplified…
                      Weʼre waiting on more data to deliver Competitive intelligence                                             Carl Wilson
                                                              Exhibit A, p. 28
https://www.linkedin.com/jobs/view/clinical-rn-reviewer-outpatient-at-tufts-health-plan-1496666709/                                                                    2/4
12/6/2019                                   Clinician
                       Case 1:19-cv-11876-FDS         Outpatient Reviewer
                                                  Document         27-1RNFiled
                                                                          | Tufts Health Plan | LinkedIn
                                                                                   12/23/19          Page 30 of 70
                Search                                                                                           1


                                                                                                                                   Set alert for similar jobs
                                                                                                                            People also viewed
                                                                                                                                       Physical Therapist
        Clinician Outpatient Reviewer RN                                                                                               Post Physical Therapy
                                                                                                                                       02210, Boston, Massachusetts,
                                                                                                                                       United States
        Tufts Health Plan • Watertown, MA, US                                                          Save        Apply
        Posted 2 weeks ago • Be among the first 25 applicants                                                                               Be an early applicant
                                                                                                                                       2 weeks ago · Easy Apply
        We enjoy the important work we do every day on behalf of our members.          Seniority Level
                                                                                       Entry level                                     Nursing Manager
        Job Summary                                                                    Industry                                        The PromptCare Companies
                                                                                                                                       Boston, Massachusetts, United
        The Clinical Reviewer is a licensed professional – either a Registered         Insurance, Financial Services,                  States
        Nurse preferred or Physical Therapist – that is expected to function           Hospital & Health Care                               Be an early applicant
        independently in her / his role and is responsible for managing a clinically
        complex caseload of varied requests for services. The Clinical Reviewer is     Employment Type                                 2 weeks ago
        responsible for making the determination of medical necessity and,             Full-time
        therefore, benefit coverage for multiple products / lines of business; such    Job Functions                                   Research Nurse, (FT)
        as Commercial (FI, SI and exchange products), state specific Medicaid          Health Care Provider                            Clinical, Thoracic
        and Medicare (Unify).                                                                                                          Dartmouth-Hitchcock
                                                                                                                                          Lebanon, NH, US
        The Clinical Reviewer ensures consistent and timely disposition of                                                                 Be an early applicant
        coverage decisions as required by product specific compliance and
        regulatory time frames. The Clinical Reviewer functions as a member of                                                         2 weeks ago
        the Precert / Outpatient UM team and works under the general direction
        of the Precertification Team Manager or department Manager. The Clinical                                                       Supervisor Clinical Nurse
        Reviewer is expected to demonstrate the ability to work independently as                                                       Landmark Health
        well as collaboratively within a team environment. The Clinical Reviewer                                                       Westborough, Massachusetts
        will be expected to demonstrate sound clinical and health plan business                                                            Be an early applicant
        knowledge in their decision making processes, on behalf of the health
        plan.                                                                                                                          2 weeks ago · Easy Apply
        Job Description
                 Provides all aspects of clinical decision making and support                                                        Home Health infusion
                                                                                                                                 Messaging
                 needed to perform utilization management, medical necessity                                                         Nurse- North Shore, MA (…
                 determinations and benefit determinations using applicable                                                          Option Care Health
                 coverage documents, purchased clinical guidelines or Medical                                                   SearchMarlborough,
                                                                                                                                       messages MA, US
                 Necessity Guidelines for clinically complex services / coverage                                                           Be an early applicant
                 requests in a consistent manner and within established, product                                           Connections to Tufts Health Plan
                 specific time frames.
                 Collaborates with Medical Directors when determination to deny a                                               Peter6 Rex
                                                                                                                                        days ago
                                                                                                                                Recreating the Earth. Built a $Billi…
                 request is indicated, advising the Medical Directors on standard                                                      Applied Informatics -
                 business processes, ensuring those processes are followed or                                                          Physician
                                                                                                                                  John-Michael
                 variances to the process are escalated, if needed, and agreed to                                                      Epic Partesotti
                                                                                                                                  Attorney-Adviser, Office of the So…
                 and well documented.                                                                                                  Greater Boston Area
                 Assures that appropriate medical necessity language is clearly                                                           View
                                                                                                                                           Be anallearly applicant
                 defined in the denial letter.
                 Communicates frequently through the day with in network and                                               Messages 4 days ago · Easy Apply
                 non-network physicians, practices, facilities and/or allied health                                               Kat de Lara
                 providers.
                 Communicates frequently through the day with members and                                                              RN Supervisor,
                                                                                                                                  LinkedIn              Clinical 1
                                                                                                                                           Offer • New job…
                 other external customers (agents acting on behalf of the provider                                                     Quality and Analysis…
                                                                                                                                  SallyTufts
                                                                                                                                        Drake,Health
                                                                                                                                                RN, BSN,
                                                                                                                                                     Plan CCM
                 or member or both) regarding the rational for a determination, as                                                InMail • hiWatertown,
                                                                                                                                              Travis, thisMA,is Sally
                                                                                                                                                                US Dr…
                 well as the status and disposition of cases.                                                                                 1 alum works here
                 Orients new staff to role as needed.                                                                             Scott Armanini
                 Interfaces between Precertification staff and providers when                                                     Sponsored • Exclusive In… 1
                 issues arise regarding policy interpretation, potential access                                                        1 day ago
                 availability or other quality assurance issues to ensure that                                                    Jen & the Sales Navig… 1
                 members receive coverage decisions timely within all accrediting                                                 LinkedIn   Offer • Find
                                                                                                                                       Supervisor,     RNlea… Regional
                 and regulatory guidelines.                                                                                           Commonwealth
                                                                                                                                  SUPREMEiP             Care
                                                                                                                                                 Law Firm…
                 Facilitates communication between Precertification and other                                                         Alliance• Trademark
                                                                                                                                  Sponsored               … 1
                 internal Tufts Health Plan departments by acting as a liaison or                                                      Boston, MA, US
                 committee member on the development or implementation of new                                                     Jen & theBeSales Navigator
                                                                                                                                              an early applicantT…
                 programs.                                                                                                        LinkedIn Offer • Is your LinkedI…
                 Provides input to the Medical Policy Department regarding the                                                         2 weeks ago
                 development of Medical Necessity Guidelines and adding input to                                                  Yosiat Gimbernard
                 purchased criteria through participation in the IMPAC.                                                           Sponsored • It's Time to … 1
                                                                                                                                     Clinical Care Manager
                 Proactively identifies trends in Utilization Management applicable                                                  Beacon   Health Options
                 to the precertification and outpatient UM processes.                                                             Morgan Warren
                                                                                                                                     Bridgewater, MA, US
                                                              Exhibit A, p. 29
https://www.linkedin.com/jobs/view/clinician-outpatient-reviewer-rn-at-tufts-health-plan-1614789292/
                                                                                                                                  Morgan: Hello Travis As a leader
                                                                                                                                                                         1/4
12/6/2019                                     Clinician
                         Case 1:19-cv-11876-FDS         Outpatient Reviewer
                                                    Document         27-1RNFiled
                                                                            | Tufts Health Plan | LinkedIn
                                                                                     12/23/19          Page 31 of 70
                Assists in the screening of appeal cases to provide clinical input as                              110 alumni work here
                Search
                needed or requested.
                Models professionalism and leadership in all capacities of the                                                        3 weeks ago
                position to all audiences.
        Requirements                                                                                                                  Clinical Sales Specialist –
                Bachelorʼs degree in Nursing, Physical Therapy, Physiatry or other                                                    Boston
                related field preferred                                                                                               Corcept Therapeutics
                Registered Nurse or Physical Therapist with current a and                                                             Boston, MA, US
                unrestricted Massachusetts license required                                                                                1 alum works here
        Experience                                                                                                                    2 weeks ago
                Minimum of five years clinical experience in utilization
                management, case management or quality assurance preferred
                Previous experience in a managed care setting desirable
        What we build together changes our customer's health for the better.We                                                Travis, land your dream job by learning n
        are looking for talented and innovative people to join our team.Come join                                             skills.
        us!
                                                                                                                               COURSE
                                                             See less                                                          Finding Your Purpose at Work
                                                                                                                               72,227 viewers

              Estimated salary                                                                                                               See my courses
        For Clinician in Greater Boston Area at Tufts Health Plan
        Base salary                                               Total compensation
        $55,800         /yr Range: $42K – $74K                     $55,800     /yr Range: $42K – $74K

                                                    See more salary insights

            PROFINDER
        Put your best foot forward
        Get your resume reviewed by a resume writing expert                                Travis Hedgpeth
                                                                                           Partner at The Hedgpeth Law …
            Get a resume review                                                                                                  Messaging
                                                                                                                                Search messages
                                                                                                                           Connections to Tufts Health Plan
           2
        Applicants
                   Weʼre waiting on more data to deliver Competitive intelligence
                   Insights will only be displayed when there are more than 10 applicants
                                                                                                                                 Peter Rex
                                                                                                                                 Recreating the Earth. Built a $Billi…
                                                                                                                                 John-Michael Partesotti
                                                                                                                                Attorney-Adviser, Office of the So…
                                                                                                                                        View all
                                                                                                                           Messages
        An inside look at Tufts Health Plan and its employees                                                                    Kat de Lara
                                                                                                                                 LinkedIn Offer • New job…           1
        Hiring trends over the last 2 years
                                                                                                                                 Sally Drake, RN, BSN, CCM
        2,490                                                                    6%                    4%                        InMail • hi Travis, this is Sally Dr…
        Total employees                                                       Company-wide          Health Care Provider         Scott Armanini                      1
                                                                              2y growth             2y growth                    Sponsored • Exclusive In…
        3,000
                                                                                                                                 Jen & the Sales Navig…              1
                                                                                                                                 LinkedIn Offer • Find lea…
        2,000
                                                                                                                                 SUPREMEiP Law Firm…                 1
                                                                                                                                 Sponsored • Trademark …
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                                                                                                                                 LinkedIn Offer • Is your LinkedI…
              Dec 2017               Jun 2018                 Dec 2018                  Jun 2019                Dec 2019         Yosiat Gimbernard                   1
                                                                                                                                 Sponsored • It's Time to …
              Average tenure ∙ 7.1 years
                                                                                                                                 Morgan Warren
                                                              Exhibit A, p. 30
https://www.linkedin.com/jobs/view/clinician-outpatient-reviewer-rn-at-tufts-health-plan-1614789292/
                                                                                                                                 Morgan: Hello Travis As a leader
                                                                                                                                                                         2/4
12/6/2019                    Nurses Vacancy in Massachusetts:Document
                       Case 1:19-cv-11876-FDS                 RN Outpatient Reviewer,
                                                                             27-1 Precertiﬁcation vacancy at Tufts
                                                                                      Filed 12/23/19          Page Health
                                                                                                                       32Planofin70
                                                                                                                                 Watertown

                                 More                                                                                                       Create Blog      Sign In




   Nurses Vacancy in Massachusetts
       Jobs from Indeed




                                                                                                        Search Nurses Vacancy in Massachusetts

                                                                                                                                                      Search


     Friday, February 23, 2018                                                                          Share This Job

     RN Outpatient Reviewer, Precertification Vacancy At                                                                                    0
     Tufts Health Plan In Watertown
             Tufts Health Plan is in need of RN Outpatient Reviewer, Precertification on Fri, 23
             Feb 2018 21:09:04 GMT. Registered Nurse or Physical Therapist with current a and
             unrestricted Massachusetts license required. The Clinical Reviewer is a licensed            Jobs from Indeed
     professional --...

     RN Outpatient Reviewer, Precertification
                                                                                                         What:   title, keywords   Where:   city, state, or zip
                                                                                                           Find Jobs
     Location: Watertown, Massachusetts

     Description: Tufts Health Plan is in need of RN Outpatient Reviewer, Precertification right
     now, this vacancy will be situated in Massachusetts. For complete informations about this
     vacancy opportunity please give attention to these descriptions. The Clinical Reviewer is a
     licensed professional -- either a Registered Nurse or Physical Therapist -- that is expected
     to function independently in her / his role and is responsible for managing a clin ically
     complex caseload of varied requests for services. The Clinical Reviewer is responsible for
     making the determination of medical necessity and, therefore, benefit coverage for multiple
     products / lines of business; such as Commercial (FI, SI and exchange products), state
     specific Medicaid and Senior Products (Medicare Advantage and SCO).

     The Clinical Reviewer ensures consistent and timely disposition of coverage decisions as
     required by product specific compliance and regulatory time frames. The Clinical Reviewer
     functions as a member of the Precert / Outpatient UM team and works under the general
     direction of the Precertification Team Manager or department Manager. The Clinical
     Reviewer is expected to demonstrate the ability to work independently as well as
     collaboratively within a team environment. The Clinical Reviewer will be expected to
     demonstrate sound clinical and health plan business knowledge in their decision making
     processes, on behalf of the health plan.

     KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in order of importance)

            Provides All Aspects Of Clinical Decision Making And Support Needed To
            Perform Utilization Management, Medical Necessity Determinations And Benefit
            Determinations Using Applicable Coverage Documents, Purchased Clinical
            Guidelines Or Medical Necessity Guidelines For Clinically Complex Services /
            Coverage Requests In A Consistent Manner And Within Established, Product
                                                                                                        Popular Nurses Vacancy in Massachusetts
            Specific Time Frames.

            Collaborates With Medical Directors When Determination To Deny A Request Is                  Nursing Assistant Vacancy At St. Elizabeths
            Indicated, Advising The Medical Directors On Standard Business Processes,                    Medical Center In Boston
            Ensuring Those Processes Are Followed Or Variances To The Process Are                       St. Elizabeths Medical Center Is In Need Of
            Escalated, If Needed, And Agreed To And Well Documented.
                                                                                                        Nursing Assistant On Wed, 25 Sep 2013
                                                                                                        13:31:09 GMT. Summary: Provide Personal
            Coaches Letter Writers To Assure That Appropriate Medical Necessity Language                Care And Assistanc...
            Is Clearly Defined In The Denial Letter.
                                                                                                         Behavioral Health Registered Nurse Job At                 Fa
            Communicates Frequently Through The Day With In Network And Non-Network                      Bay State Community Services In Quincy
                                                                                                                                                                   Ac
            Physicia Ns, Practices, Facilities And/Or Allied Health Providers.                          Bay State Community Services Is In Need Of
                                                                                                        Behavioral Health Registered Nurse On Thu, 31              fas


                                                           Exhibit A, p. 31
https://massachusettsnursingjobs.blogspot.com/2018/02/rn-outpatient-reviewer-precertiﬁcation.html?utm_campaign=google_jobs_apply&utm_source=google_jobs_a…        1/4
12/6/2019                     Nurses Vacancy in Massachusetts:Document
                        Case 1:19-cv-11876-FDS                 RN Outpatient Reviewer,
                                                                              27-1 Precertiﬁcation vacancy at Tufts
                                                                                       Filed 12/23/19          Page Health
                                                                                                                        33Planofin70
                                                                                                                                  Watertown
            Communicates Frequently Through The Day With Members And Other External                     May 2018 03:22:32 GMT. The Nurse Will Be
            Customers (Agents Acting On Behalf Of The Provider Or Member Or Both)                       Responsib...
            Regarding The Rational For A Determination, As Well As The Status And
                                                                                                          Nurse Practitioner Job At Home Health VNA
            Disposition Of Cases.                                                                         (Merrimack Valley Hospice) In Lawrence
            Orients New Staff To Role As Needed.                                                        Home Health VNA (Merrimack Valley Hospice)
                                                                                                        Is Hiring Nurse Practitioner On Sun, 08 Dec
            Interfaces Between Precertification Staff And Providers When Issues Arise                   2013 07:12:04 GMT. Hospice And Palliative
            Regarding Policy Interpretation, Potential Access Availability Or Other Quality             Care, Nurse...
            Assurance Issues To Ensure That Members Receive Coverage Decisions Timely
            Within All Accrediting And Regulatory Guidelines.                                            Unit Clerk/ Medical Records Assistant.
                                                                                                         Licensed Staff. CNA Occupation At Sterling
            Facilitates Communication Between Precertification And Other Internal Tufts                 Village In Sterling
            Health Plan Departments By Acting As A Liaison Or Committee Member On The                   Sterling Village Is Looking Of Unit Clerk/ Medical
            Development Or Implementation Of New Programs.                                              Records Assistant. Licensed Staff. CNA On Fri,
                                                                                                        20 Sep 2013 03:57:06 GMT. Sterling Village...
            Provides Input To The Medical Policy Department Regarding The Development
            Of Medical Necessity Guidelines And Adding Input To Purchased Crit Eria                      CASE MGMT SPECIALIST Position At
            Through Participation In The IMPAC.                                                          Genzyme Corporation In Cambridge
                                                                                                        Genzyme Corporation Is Employing CASE
            Proactively Identifies Trends In Utilization Management Applicable To The                   MGMT SPECIALIST On Wed, 04 Dec 2013
            Precertification And Outpatient UM Processes.                                               06:13:48 GMT. Includes, But Is Not Limited To:
                                                                                                        Renal Dieticians, S...
            Assists In The Screening Of Appeal Cases To Provide Clinical Input As Needed
            Or Requested.                                                                                PT, Physical Therapist, Home Health, Sign-On
                                                                                                         Bonus, Per Diem, Easton Area Job At
            Models Professionalism And Leadership In All Capacities Of The Position To All              BAYADA Home Health Care In South Easton
            Audiences.
                                                                                                        BAYADA Home Health Care Is At Present
     EDUCATION:                                                                                         Looking To Employ PT, Physical Therapist,
                                                                                                        Home Health, Sign-On Bonus, Per Diem, Easton
            Bachelor's Degree In Nursing, Physical Therapy, Physiatry Or Other Related                  Area On Mon, 30...
            Field Preferred
                                                                                                          TEMPORARY OPPORTUNITIES-UNION
            Registered Nurse Or Physical Therapist With Current A And Unrestricted                        HOSPITAL Job At North Shore Medical Center
            Massachusetts License Required                                                              In Lynn
                                                                                                        North Shore Medical Center Is Employing
     EXPERIENCE:                                                                                        TEMPORARY OPPORTUNITIES-UNION
            Minimum Of Five Years Clinical Experience In Utilization Management, Case                   HOSPITAL On Sun, 31 Mar 2013 15:14:32 GMT.
                                                                                                        Look Up New Window Ht...
            Management Or Quality Assurance Preferred

            Previous Experience In A Managed Care Setting Desirable                                      Resident Care Director / Wellness Nurse
                                                                                                         Manager /Sign-On Bonus!! Occupation At Atria
     SKILL REQUIREMENTS:                                                                                Senior Living In Falmouth
                                                                                                        Atria Senior Living Is In Need Of Resident Care
            Requires An Individual With Highly Developed Critical Thinking Skills And The
                                                                                                        Director / Wellness Nurse Manager /Sign-On
            Ability To Investigate, Evaluate And Problem Solve Using Sound Clinical                     Bonus!! On Wed, 20 Nov 2013 18:09:57 GMT.
            Judgment And Business Knowledge.                                                            Atria S...
            Requires The Ability To Work In An Extremely Complex And Potentially
                                                                                                          Medical Specialist, RN - Insurance Job At
            Politically Charged Environment.                                                              Liberty Mutual In Beverly
            Demonstrated Skill In Responding To Inquiries From Providers And/Or Members                 Liberty Mutual Is At Present Looking To Employ
                                                                                                        Medical Specialist, RN - Insurance On Mon, 01
            Must Exhibit Initiative And Creativity In Planning Of Work And Be Able To                   Jan 2018 15:54:05 GMT. Current Unrestricted
            Resolve Cases Correctly, Effectively, Expeditiously And Within Tight                        Reg...
            Timeframes.
                                                                                                         Ambulatory & Transitional Case Manager
            Good Organizational Skills And A Customer Centered Focus Required.                           Occupation At Lahey Health In Burlington
                                                                                                        Lahey Health Is Hiring Ambulatory & Transitional
            Individual Must Be Able To Use Multiple Software Applications/ Computer                     Case Manager On Thu, 04 Jul 2013 13:01:12
            Literate.                                                                                   GMT. Responsibilities Clinical Judgment And
                                                                                                        D...
            Excellent Oral And Written Communication Skills Required.

     WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS: (include special
     requirements, e.g., lifting, travel, overtime)
                                                                                                        Nurses Vacancy in Massachusetts Archive
            Fast Paced Business Environment That Requires Prioritization And Balancing Of
            Multiple Demands.                                                                           ▼ 2018 (25)
            Continuous Use Of PC And Telephone Required.                                                  ► May (11)

            Ability To Adjust Work Schedule On Short Notice To Adapt To Departmental,                     ► April (4)
            Case Driven Needs.                                                                            ▼ February (3)
     CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.) that an employee                 Mental Health Case Manager
     encounters while working at Tufts Health Plan is considered confidential. Exposed to and                 Career At Commonwealth ...                     Fa
     required to deal with highly confidential and sensitive material and must adhere to corporate           STAFF NURSE / 32 HOURS / DAY                    Ac
     compliance policy, department guidelines/policies and all applicable laws and regulations at              VARIABLE SHIFT / BWH-...                      fas
     all times.

                                                           Exhibit A, p. 32
https://massachusettsnursingjobs.blogspot.com/2018/02/rn-outpatient-reviewer-precertiﬁcation.html?utm_campaign=google_jobs_apply&utm_source=google_jobs_a…   2/4
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Clinical Outpatient Reviewer - RN
   ziprecruiter.com/c/Tufts-Health-Plan/Job/Clinical-Outpatient-Reviewer-RN/-in-Watertown,MA



Similar Jobs

Clinical Services Project Manager



TriNetX Cambridge, MA

Full-Time

Clinical Services Project Manager/Director



TriNetX Inc Cambridge, MA

Quick Apply Full-Time

Clinician / LPHA- Adult Community Clinical Services (ACCS)



Community Healthlink Worcester, MA

Part-Time

Clinical Services Administrative Coordinator



Child and Family Psychological Services Wellesley, MA

Quick Apply Full-Time

Director of Clinical Services



CareOne Management, LLC Marlborough, MA

Full-Time

Director of Pharmacy (DOP) - Director of Clinical Services


                                                                                               1/6

                                    Exhibit A, p. 33
         Case 1:19-cv-11876-FDS Document 27-1 Filed 12/23/19 Page 35 of 70

HHA / CNA (Private Home Care) Immediate Availability (Framingham area)



Professional Nursing Placement Services, Inc. Hopkinton, MA

Quick Apply $15 to $18 Hourly Part-Time

Director of Clinical Development



Eliot Community Human Services Jamaica Plain, MA

Full-Time

The Clinical Reviewer is a licensed professional -- either a Registered Nurse preferred or
Physical Therapist -- that is expected to function independently in her / his role and is
responsible for managing a clinically complex caseload of varied requests for services. The
Clinical Reviewer is responsible for making the determination of medical necessity and,
therefore, benefit coverage for multiple products / lines of business; such as Commercial (FI,
SI and exchange products), state specific Medicaid and Senior Products (Medicare
Advantage and SCO). The Clinical Reviewer ensures consistent and timely disposition of
coverage decisions as required by product specific compliance and regulatory time frames.
The Clinical Reviewer functions as a member of the Precert / Outpatient UM team and works
under the general direction of the Precertification Team Manager or department Manager.
The Clinical Reviewer is expected to demonstrate the ability to work independently as well
as collaboratively within a team environment. The Clinical Reviewer will be expected to
demonstrate sound clinical and health plan business knowledge in their decision making
processes, on behalf of the health plan. KEY RESPONSIBILITIES/ESSENTIAL FUNCTIONS* (in
order of importance) * Provides all aspects of clinical decision making and support needed
to perform utilization management, medical necessity determinations and benefit
determinations using applicable coverage documents, purchased clinical guidelines or
Medical Necessity Guidelines for clinically complex services / coverage requests in a
consistent manner and within established, product specific time frames. * Collaborates with
Medical Directors when determination to deny a request is indicated, advising the Medical
Directors on standard business processes, ensuring those processes are followed or
variances to the process are escalated, if needed, and agreed to and well documented. *
Coaches letter writers to assure that appropriate medical necessity language is clearly
defined in the denial letter. * Communicates frequently through the day with in network
and non-network physicians, practices, facilities and/or allied health providers. *
Communicates frequently through the day with members and other external customers
(agents acting on behalf of the provider or member or both) regarding the rational for a
determination, as well as the status and disposition of cases. * Orients new staff to role as

                                                                                                 4/6

                               Exhibit A, p. 34
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needed. * Interfaces between Precertification staff and providers when issues arise
regarding policy interpretation, potential access availability or other quality assurance issues
to ensure that members receive coverage decisions timely within all accrediting and
regulatory guidelines. * Facilitates communication between Precertification and other
internal Tufts Health Plan departments by acting as a liaison or committee member on the
development or implementation of new programs. * Provides input to the Medical Policy
Department regarding the development of Medical Necessity Guidelines and adding input
to purchased criteria through participation in the IMPAC. * Proactively identifies trends in
Utilization Management applicable to the precertification and outpatient UM processes. *
Assists in the screening of appeal cases to provide clinical input as needed or requested. *
Models professionalism and leadership in all capacities of the position to all audiences.
EDUCATION: * Bachelor's degree in Nursing, Physical Therapy, Physiatry or other related
field preferred * Registered Nurse or Physical Therapist with current a and unrestricted
Massachusetts license required EXPERIENCE: * Minimum of five years clinical experience in
utilization management, case management or quality assurance preferred * Previous
experience in a managed care setting desirable SKILL REQUIREMENTS: * Requires an
individual with highly developed critical thinking skills and the ability to investigate, evaluate
and problem solve using sound clinical judgment and business knowledge. * Requires the
ability to work in an extremely complex and potentially politically charged environment. *
Demonstrated skill in responding to inquiries from providers and/or members * Must
exhibit initiative and creativity in planning of work and be able to resolve cases correctly,
effectively, expeditiously and within tight timeframes. * Good organizational skills and a
customer centered focus required. * Individual must be able to use multiple software
applications/ computer literate. * Excellent oral and written communication skills required.
WORKING CONDITIONS AND ADDITIONAL REQUIREMENTS: (include special requirements,
e.g., lifting, travel, overtime) * Fast paced business environment that requires prioritization
and balancing of multiple demands. * Continuous use of PC and telephone required. *
Ability to adjust work schedule on short notice to adapt to departmental, case driven needs.
CONFIDENTIAL DATA: All information (written, verbal, electronic, etc.) that an employee
encounters while working at Tufts Health Plan is considered confidential. Exposed to and
required to deal with highly confidential and sensitive material and must adhere to
corporate compliance policy, department guidelines/policies and all applicable laws and
regulations at all times. Equal Opportunity Employer Minorities/Women/Protected
Veterans/Disabled


Tufts Health Plan

Address
Watertown, MA
02471 USA

                                                                                                     5/6

                                 Exhibit A, p. 35
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                                                                                           6/6

                               Exhibit A, p. 36
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                 EXHIBIT B
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              28 U.S.C. § 1746 DECLARATION OF PATRICIA KING IN SUPPORT OF
                            PROCEEDING AS A COLLECTIVE ACTION

            I am over the age of 18, am competent to testify to the following from personal
            experience and knowledge, and declare as follows:

            1.    Tufts Associated Health Maintenance Organization, Inc. and Tufts Health
            Public Plans, Inc. (collectively, “Defendant” or “Tufts”) employed me and other
            workers (“Utilization Review Employees” or “UREs”) to produce the ongoing, day-
            to-day utilization management services that Tufts provides as a key component of
            the medical management services that Defendant is in business to provide to its
            customers.

            2.    In order to provide its utilization management services, Tufts required me and
            other UMEs to spend our workdays determining whether to approve health insurance
            benefit requests (“Insurance Claims”) based on whether requisite criteria were
            present in the health plan participant’s clinical information: If the criteria were
            present, the claim was approved; if absent, Tufts’ company policy required me to
            send the Insurance Claim to a licensed physician for “peer review” to determine
            whether Tufts would approve or deny an insurance claim for “not meeting criteria.”

            3.    Tufts employed me as a URE from approximately February 2015 to January
            2018. Tufts referred to my “technical job title” in multiple ways during my
            employment, including referring to me as a Medical Management Nurse, Utilization
            Review Clinician, Clinical RN Reviewer, RN Inpatient Reviewer, Inpatient
            Reviewer, Utilization Management/Review Registered Nurse, UM RN, and UR RN.
            Regardless of how Tufts referred to my position, my job duties remained the same
            and primarily consisted of non-clinical Utilization Review Work.

            4.     During my employment, Defendant would refer to UREs collectively as
            “Utilization Management/Review Clinicians.” Defendant did so, despite the fact that
            the Utilization Review Work primarily performed by other URES and I did not
            involve working as a registered nurse, mental health professional or physician. In
            fact, my job duties did not involve providing traditional nursing or mental health
            care in a clinical setting, exercising clinical judgment, or providing direct medical
            care to individuals. Rather, I performed my work as a URE remotely and in a call
            center environment, applying and communicating Tufts’ practices, procedures,
            guidelines and criteria for the approval of Insurance Claims.

            5.    I did not function as a registered nurse as a URE. In fact, Defendant did not
            require a master’s degree or licensure as a registered nurse, licensed social worker




                                                      Ex. B, p. 1
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            or mental health professional to work as a URE. For example, I worked with at least
            one URE who qualified for her position despite only possessing licensure as a
            Licensed Practical Nurse (LPN).

            6.     I performed my work as a URE in accordance with Tufts’ policies, procedures,
            guidelines, and criteria/guidelines embedded in Tufts’ computer software. Tufts
            provided me with training on how to use these decision-making tools—which
            detailed a course of action for nearly every contingency I encountered during my
            employment—to perform my work in a highly consistent and accurate manner. I
            could not significantly deviate from Defendant’s guidelines or criteria in performing
            my Utilization Management Work. And, under no circumstance, did I ever have the
            authority to deny a member’s benefit or service request. This is because Tufts had a
            strict policy prohibiting anyone other than a licensed physician from denying a
            member’s health insurance benefit request.

            7.     I performed my work as a URE on a remote basis and in a call center
            environment. Tufts provided me with the necessary computer equipment and
            electronic access to perform my work this way. Regardless of where I performed my
            work, my job duties remained non-clinical and primarily consisted of Utilization
            Review Work.

            8.    As a URE, I was a rule follower, not a rule maker. I had no role or involvement
            in creating or changing the policies, procedures, guidelines and criteria that
            Defendant required me to follow and apply to perform my Utilization Review Work.
            Rather, I was required to strictly apply Defendant’s designated procedures,
            guidelines and criteria in performing my Utilization Review Work. Failure to meet
            Tufts’ accuracy requirements in applying its criteria to approve Insurance Claims
            would have resulted in poor performance reviews, corrective action, and eventual
            termination.

            9.    I routinely worked 8 to 12 hours per day and over 40 hours per week during
            my employment as a URE. Despite regularly working over 40 hours per week, Tufts
            denied me overtime pay for all overtime hours worked. Instead of paying me
            overtime my working over 40 hours a week, Tufts subjected other UREs and I to its
            companywide misclassification scheme that classified us as exempt, paid us a salary,
            and denied us all overtime pay for all the overtime hours we worked.

                  10. Based on my experience working for Tufts, I understand that Tufts
            employed at least 50 UREs in Massachusetts and several more across the country
            who worked under the same conditions as I did during my employment. Like me,
            these UREs primarily performed Utilization Review Work, regularly worked



                                                      Ex. B, p. 2
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            overtime, and were subjected to Tufts’ misclassification scheme that that denied all
            UREs overtime pay for all overtime hours we worked. The duties, hours and pay
            policies did not depend on where we performed our work, but instead was a product
            of being employed as URE by Tufts.

                   11. I base my belief and knowledge of Tufts’ policies and pay practices on
            (1) conversations I had during my employment with other URES who talked to me
            about their job duties, hours of work, and how Tufts paid them; (2) training
            calls/webinars that I attended with UREs; (3) training seminars I attended with other
            UREs; and (4) observations of other UREs performing Utilization Review Work
            while working hours similar to those I worked while working for Tufts in a call
            center environment.

                    12. I believe that other current and former UREs subjected to Tufts’
            Overtime Misclassification Policy would join this case if they were aware of its
            existence. I do not presently recall the names, telephone numbers, and addresses of
            all of the individuals with whom I was familiar while working for Tufts; however, I
            believe multiple UREs I worked would join this case (or may have already done so)
            or would be eligible to do so if they knew of its existence and were not afraid of
            retaliation.

                   13. I know that other UREs and I rely heavily on our cell phones and
            computers for both personal and professional communications based on my
            conversations with coworkers. I personally use my cell phone and computer to
            communicate with friends, family and attorneys through email, text message and
            phone calls. In fact, while working for Tufts, managers and other co-workers would
            often contact me by text or phone call—rather than by email or snail mail—about
            work. Although I receive mail, I also routinely receive a significant amount of junk
            mail and am unlikely to read my mail unless I know to expect a letter or package. If
            I did not know anything about this case, I would be far more likely to receive and
            read a notice that was either emailed or texted to me.

                     14.     I declare under penalty of perjury that the foregoing is true and correct.


                     Executed on _____________________.
                                  11/12/2019



                                                              ____________________
                                                              PATRICIA KING




                                                      Ex. B, p. 3
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                 EXHIBIT C
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                28 U.S.C. § 1746 DECLARATION OF SALLY DRAKE IN SUPPORT OF
                             PROCEEDING AS A COLLECTIVE ACTION
            I am over the age of 18, am competent to testify to the following from personal
            experience and knowledge, and declare as follows:
            1.    Tufts Associated Health Maintenance Organization, Inc. and Tufts Health
            Public Plans, Inc. (collectively, “Defendant” or “Tufts”) employed me and other
            workers (“Utilization Review Employees” or “UREs”) to produce the ongoing, day-to-
            day utilization management services that Tufts provides as a key component of the
            medical management services that Defendant is in business to provide to its customers.
            2.     In order to provide its utilization management services, Tufts required me and
            other UMEs to spend our workdays determining whether to approve health insurance
            benefit requests (“Insurance Claims”) based on whether requisite criteria were present
            in the health plan participant’s clinical information: If the criteria were present, the claim
            was approved; if absent, Tufts’ company policy required me to send the Insurance
            Claim to a licensed physician for “peer review” to determine whether Tufts would
            approve or deny an insurance claim for “not meeting criteria.”
            3.     Tufts employed me as a URE from approximately May 2017 to June 2019. Tufts
            referred to my “technical job title” in multiple ways during my employment, including
            referring to me as a Utilization Review Regional Care Manager, Outpatient Utilization
            Management RN, Clinical Outpatient Nurse Reviewer, Utilization Review Clinician,
            Utilization Review Nurse and RN Outpatient Reviewer. Regardless of how Tufts
            referred to my position, my job duties remained the same and primarily consisted of
            non-clinical Utilization Review Work.
            4.     During my employment, Defendant would refer to UREs collectively as
            “Utilization Management/Review Clinicians.” Defendant did so, despite the fact that
            the Utilization Review Work primarily performed by other UREs and I did not involve
            working as a registered nurse, mental health professional or physician. My job duties
            did not involve providing nursing or mental health care in a clinical setting, providing
            direct medical or mental health care to individuals, or exercising clinical judgment to
            diagnose or provide treatment to individuals with mental health or medical issues.
            Instead, I performed my work as a CME remotely and in a call center environment,
            applying and communicating Tuft’s practices, procedures, guidelines and criteria for the
            approval of Insurance Claims.
            5.     I performed my work as a URE in accordance with Tufts’ policies, procedures,
            guidelines, and criteria/guidelines embedded in Tufts’ computer software. Tufts
            provided me with training on how to use these decision-making tools—which detailed




                                                      Ex. C, p. 1
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            a course of action for nearly every contingency I encountered during my employment—
            to perform my work in a highly consistent and accurate manner. I could not significantly
            deviate from Defendant’s guidelines or criteria in performing my Utilization
            Management Work. And, under no circumstance, did I ever have the authority to deny
            a member’s benefit or service request. This is because Tufts had a strict policy
            prohibiting anyone other than a licensed physician from denying a member’s health
            insurance benefit request.
            6.     I performed my work as a URE on a remote basis and in a call center
            environment. Tufts provided me with the necessary computer equipment and electronic
            access to perform my work this way. Regardless of where I performed my work, my
            job duties remained non-clinical and primarily consisted of Utilization Review Work.

            7.     As a URE, I was a rule follower, not a rule maker. I had no role or involvement
            in creating or changing the policies, procedures, guidelines and criteria that Defendant
            required me to follow and apply to perform my Utilization Review Work. Rather, I was
            required to strictly apply Defendant’s designated procedures, guidelines and criteria in
            performing my Utilization Review Work. Failure to meet Tufts’ accuracy requirements
            in applying its criteria to approve Insurance Claims would have resulted in poor
            performance reviews, corrective action, and eventual termination.
            8.    During my employment as a URE, I typically worked at least 9.5 per day and
            47.5 per week. Despite regularly working over 40 hours per week, Tufts denied me
            overtime pay for all overtime hours worked. Instead of paying me overtime my working
            over 40 hours a week, Tufts subjected other UREs and I to its companywide
            misclassification scheme that classified us as exempt, paid us a salary, and denied us all
            overtime pay for all the overtime hours we worked.
                  9.     Based on my experience working for Tufts, I understand that Tufts
            employed at least 50 UREs in Massachusetts and several more across the country who
            worked under the same conditions as I did during my employment. Like me, these
            UREs primarily performed Utilization Review Work, regularly worked overtime, and
            were subjected to Tufts’ misclassification scheme that that denied all UREs overtime
            pay for all overtime hours we worked. The duties, hours and pay policies did not
            depend on where we performed our work, but instead was a product of being employed
            as URE by Tufts.

                   10. I base my belief and knowledge of Tufts’ policies and pay practices on (1)
            conversations I had during my employment with other URES who talked to me about
            their job duties, hours of work, and how Tufts paid them; (2) training calls/webinars
            that I attended with UREs; (3) training seminars I attended with other UREs; and (4)




                                                      Ex. C, p. 2
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            observations of other UREs performing Utilization Review Work while working hours
            similar to those I worked while working for Tufts in a call center environment.
                   11. I believe that other current and former UREs subjected to Tufts’
            Overtime Misclassification Policy would join this case if they were aware of its
            existence. I do not presently recall the names, telephone numbers, and addresses of all
            of the individuals with whom I was familiar while working for Tufts; however, I believe
            multiple UREs I worked would join this case (or may have already done so) or would
            be eligible to do so if they knew of its existence and were not afraid of retaliation.

                    12. I know that other CMEs and I rely heavily on our cell phones and
            computers for both personal and professional communications based on my
            conversations with coworkers. I personally use my cell phone and computer to
            communicate with friends, family and attorneys through email, text message and phone
            calls. In fact, while working for Tufts, managers and other co-workers would often
            contact me by text or phone call—rather than by email or snail mail—about work.
            Although I receive mail, I also routinely receive a significant amount of junk mail and
            am unlikely to read my mail unless I know to expect a letter or package. If I did not
            know anything about this case, I would be far more likely to receive and read a notice
            that was either emailed or texted to me.
                     13.     I declare under penalty of perjury that the foregoing is true and correct.

                                 11/8/2019
                     Executed on _____________________.

                                                               ____________________
                                                               SALLY DRAKE




                                                      Ex. C, p. 3
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                 EXHIBIT D
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                28 U.S.C. § 1746 DECLARATION OF CHRISTOPHER KAIRUMBA IN
                     SUPPORT OF PROCEEDING AS A COLLECTIVE ACTION

             I am over the age of 18, am competent to testify to the following from personal
             experience and knowledge, and declare as follows:

             1.    Tufts Associated Health Maintenance Organization, Inc. and Tufts Health
             Public Plans, Inc. (collectively, “Defendant” or “Tufts”) employed me and other
             workers (“Utilization Review Employees” or “UREs”) to produce the ongoing, day-
             to-day utilization management services that Tufts provides as a key component of
             the medical management services that Defendant is in business to provide to its
             customers.

             2.    In order to provide its utilization management services, Tufts required me and
             other UMEs to spend our workdays determining whether to approve health insurance
             benefit requests (“Insurance Claims”) based on whether requisite criteria were
             present in the health plan participant’s clinical information: If the criteria were
             present, the claim was approved; if absent, Tufts’ company policy required me to
             send the Insurance Claim to a licensed physician for “peer review” to determine
             whether Tufts would approve or deny an insurance claim for “not meeting criteria.”

             3.    Tufts employed me as a URE from approximately November 2016 to October
             2017. Tufts referred to my “technical job title” in multiple ways during my
             employment, including referring to me as a Utilization Manager, Utilization
             Management Registered Nurse, UM RN, Inpatient Reviewer and RN Inpatient
             Reviewer. Regardless of how Tufts referred to my position, my job duties remained
             the same and primarily consisted of non-clinical Utilization Review Work.

             4.     During my employment, Defendant would refer to UREs collectively as
             “Utilization Management/Review Clinicians.” Defendant did so, despite the fact that
             the Utilization Review Work primarily performed by other URES and I did not
             involve working as a registered nurse, mental health professional or physician. In
             fact, my job duties did not involve providing traditional nursing or mental health
             care in a clinical setting, exercising clinical judgment, or providing direct medical
             care to individuals. Rather, I performed my work as a URE remotely and in a call
             center environment, applying and communicating Tufts’ practices, procedures,
             guidelines and criteria for the approval of Insurance Claims.

             5.    I performed my work as a URE in accordance with Tufts’ policies, procedures,
             guidelines, and criteria/guidelines embedded in Tufts’ computer software. Tufts
             provided me with training on how to use these decision-making tools—which




                                                       Ex. D, p. 1
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             detailed a course of action for nearly every contingency I encountered during my
             employment—to perform my work in a highly consistent and accurate manner. I
             could not significantly deviate from Defendant’s guidelines or criteria in performing
             my Utilization Management Work. And, under no circumstance, did I ever have the
             authority to deny a member’s benefit or service request. This is because Tufts had a
             strict policy prohibiting anyone other than a licensed physician from denying a
             member’s health insurance benefit request.

             6.     I performed my work as a URE on a remote basis and in a call center
             environment. Tufts provided me with the necessary computer equipment and
             electronic access to perform my work this way. Regardless of where I performed my
             work, my job duties remained non-clinical and primarily consisted of Utilization
             Review Work.

             7.    As a URE, I was a rule follower, not a rule maker. I had no role or involvement
             in creating or changing the policies, procedures, guidelines and criteria that
             Defendant required me to follow and apply to perform my Utilization Review Work.
             Rather, I was required to strictly apply Defendant’s designated procedures,
             guidelines and criteria in performing my Utilization Review Work. Failure to meet
             Tufts’ accuracy requirements in applying its criteria to approve Insurance Claims
             would have resulted in poor performance reviews, corrective action, and eventual
             termination.

             8.    I routinely worked in excess of 8 hours per day and 40 hours per week during
             my employment as a URE. Despite regularly working over 40 hours per week, Tufts
             denied me overtime pay for all overtime hours worked. Instead of paying me
             overtime my working over 40 hours a week, Tufts subjected other UREs and I to its
             companywide misclassification scheme that classified us as exempt, paid us a salary,
             and denied us all overtime pay for all the overtime hours we worked.

                    9.     Based on my experience working for Tufts, I understand that Tufts
             employed at least 50 UREs in Massachusetts and several more across the country
             who worked under the same conditions as I did during my employment. Like me,
             these UREs primarily performed Utilization Review Work, regularly worked
             overtime, and were subjected to Tufts’ misclassification scheme that that denied all
             UREs overtime pay for all overtime hours we worked. The duties, hours and pay
             policies did not depend on where we performed our work, but instead was a product
             of being employed as URE by Tufts.

                   10. I base my belief and knowledge of Tufts’ policies and pay practices on
             (1) conversations I had during my employment with other URES who talked to me



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             about their job duties, hours of work, and how Tufts paid them; (2) training
             calls/webinars that I attended with UREs; (3) training seminars I attended with other
             UREs; and (4) observations of other UREs performing Utilization Review Work
             while working hours similar to those I worked while working for Tufts in a call
             center environment.

                    11. I believe that other current and former UREs subjected to Tufts’
             misclassification scheme would join this case if they were aware of its existence. I
             do not presently recall the names, telephone numbers, and addresses of all of the
             individuals with whom I was familiar while working for Tufts; however, I believe
             multiple UREs I worked would join this case (or may have already done so) or would
             be eligible to do so if they knew of its existence and were not afraid of retaliation.

                    12. I know that other UREs and I rely heavily on our cell phones and
             computers for both personal and professional communications based on my
             conversations with coworkers. I personally use my cell phone and computer to
             communicate with friends, family and attorneys through email, text message and
             phone calls. In fact, while working for Tufts, managers and other co-workers would
             often contact me by text or phone call—rather than by email or snail mail—about
             work. Although I receive mail, I also routinely receive a significant amount of junk
             mail and am unlikely to read my mail unless I know to expect a letter or package. If
             I did not know anything about this case, I would be far more likely to receive and
             read a notice that was either emailed or texted to me.

                     13.      I declare under penalty of perjury that the foregoing is true and correct.

                                  12/5/2019
                     Executed on _____________________.

                                                               ____________________
                                                               CHRISTOPHER KAIRUMBA




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Health Plan Accreditation Guide, Version 7.3




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                                           Glossary for Health Accreditation Standards

                   Health benefit plan: A policy, contract, certificate or agreement offered or issued by a health issuer to
                   provide, deliver, arrange for, pay for or reimburse any of the costs of health care services.
                                                         Source: 2008 NAIC Health Carrier Uniform External Review Model Act

                   Health content: Health information that is intended to provide general, user non-specific information or
                   advice about maintaining health or the treatment of an acute or chronic illness, health condition, or
                   disease state.

                   Health Content Reviewer: An individual who holds a license or certificate as required by the appropriate
                   jurisdiction in a health care field (where applicable), has professional experience in providing relevant
                   direct patient care or has completed formal training in a health-related field.

                   Health Education: Educational resources designed to enhance the knowledge and understanding of
                   health topics to promote wellness and self-care.

                   Health Information: Educational resources designed to enhance the knowledge and understanding of
                   health topics to promote wellness and self-care.

                   Health Information Exchange: The electronic movement of health-related information among
                   organizations according to nationally recognized standards.

                   Health Information Organization: An organization that oversees and governs the exchange of health-
                   related information among organizations according to nationally recognized standards.

                   Health Information Technology: The technology to create, transmit, store and manage individuals’
                   health data.
                                                         URAC Clinically Integrated Networks Advisory Committee, 2012

                   Health Literacy: The degree to which individuals have the capacity to obtain, process, and understand
                   basic health information and services needed to make appropriate decisions regarding their health.

                   Health Professional: An individual who: (1) has undergone formal training in a health care field; (2) holds
                   an associate or higher degree in a health care field, or holds a state license or state certificate in a health
                   care field; and (3) has professional experience in providing direct patient care.

                   Health-Related Field: A professional discipline that promotes the physical, psychosocial, or vocational
                   well-being of individual persons.

                   Health Risk Assessment Process: A process of collecting and interpreting health data and risk factors,
                   gathered from the health risk assessment tool and other sources about the target population, to evaluate
                   potential participants for inclusion in the wellness program.
                        Note: The term “health risk assessment” and its corresponding acronym “HRA” are not the only
                           terms that define an acceptable assessment process.
                                                                             URAC Health Accreditations Glossary 2/21/2012

                   Health Risk Assessment Tool (HRAT): A health risk assessment tool is a systematic approach to
                   collecting information from individuals that identifies risk factors, which can be determined through
                   biometric and other methods, and provides individualized feedback, such as through a health risk score,
                   to increase overall awareness of risk. Definition adopted from the Centers for Medicare and Medicaid
                   Services – CMS).

                   Healthy Behavior A specific action, taken at the individual level, associated with improved health
                   outcomes and the reduction of risk factors. Healthy behavior may include:
                       •  Seeking appropriate health care or tests (e.g., getting a cholesterol screening)
                       •  • Avoiding risky behavior (e.g., quitting smoking)
                       •  • Engaging in lifestyle changes (e.g., getting more exercise)




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                                           Glossary for Health Accreditation Standards

                   Individually Identifiable Information: Any information that can be tied to an individual consumer, as
                   defined by applicable laws.

                   Individually identifiable health information is information that is a subset of health information, including
                   demographic information collected from an individual, and: (1) Is created or received by a health care
                   provider, health plan, employer, or health care clearinghouse; and (2) Relates to the past, present, or
                   future physical or mental health or condition of an individual; the provision of health care to an individual;
                   or the past, present, or future payment for the provision of health care to an individual; and (i) That
                   identifies the individual; or (ii) With respect to which there is a reasonable basis to believe the information
                   can be used to identify the individual. (65 Fed. Reg. at 82,804 (to be codified at 45 C.F.R. pt. 164.501))
                         Note: This definition is derived from the federal Health Insurance Portability and Accountability
                            Act (HIPAA).

                   Independent Review: A process, independent of all affected parties, to determine if a health care service
                   is medically necessary and medically appropriate, experimental/investigational or to address
                   administrative/legal issues. Independent review typically (but not always) occurs after all appeal
                   mechanisms available within the health benefits plan have been exhausted. Independent review can be
                   voluntary or mandated by law.

                   Independent Reviewer: See definition for “Reviewer.”

                   Information System: Any written, electronic, or graphical method of communicating information. The
                   basis of an information system is the sharing and processing of information and ideas. Computers and
                   telecommunication technologies have become essential information system components.
                                                                                                Barron’s Business Dictionary

                   Initial Clinical Review: Clinical review conducted by appropriate licensed or certified health
                   professionals. Initial clinical review staff may approve requests for admissions, procedures, and services
                   that meet clinical review criteria, but must refer requests that do not meet clinical review criteria to peer
                   clinical review for certification or non-certification. Sometimes referred to as “first level review.”

                   Initial Screening (formerly “pre-review screening” and “scripted clinical screening”): Automated or
                   semi-automated screening of requests for authorization that may include: (1) collection of structured
                   clinical data (including diagnosis, diagnosis codes, procedures, procedure codes); (2) asking scripted
                   clinical questions; (3) accepting responses to scripted clinical questions; and (4) taking specific action
                   (certification and assignment of length of stay explicitly linked to each of the possible responses). It
                   excludes: (1) applying clinical judgment or interpretation; (2) accepting unstructured clinical information;
                   (3) deviating from script; (4) engaging in unscripted clinical dialogue; (5) asking clinical follow-up
                   questions; (6) issuing non-certifications; and (7) verification of insurance coverage or eligibility.

                   Inreach: use of consumer interactions inside the primary care / medical home setting to discover gaps in
                   care and identify opportunities for and act on consumer targeted interventions promoting preventive care
                                                                                              Adapted from Yabroff KR, et al.
                                                                    J Am Med Womens Assoc. 2001 Fall;56(4):166-73, 188.


                   Internal review: Review, including appeal review, by an insurance issuer or group health plan or their
                   designee (i.e., such as a TPA) of an adverse benefit determination.
                        Source: Interim Final Rules for Group Health Plans and Health Insurance Issuers Relating to Internal
                       Claims and Appeals and External Review Processes under the Patient Protection and Affordable Care
                                                                              Act; Interim Final Rule [HHS 45 CFR Part 147]

                   Interoperability: Ability of two or more systems or components to exchange information and to use the
                   information that has been exchanged.




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P-HUM 10 - Initial Clinical Reviewer Qualifications

Individuals who conduct initial clinical review possess an active, professional license or
certification: (No Weight)

         (a) To practice as a health professional in a state or territory of the United States; and
         (Mandatory)

         (b) With a scope of practice that is relevant to the clinical area(s) addressed in the initial
         clinical review. (Mandatory)

Interpretive Information/Commentary

     ●   It is URAC’s policy that initial clinical reviewers must hold a U.S. license or certification;
         however, unlike peer reviewers conducting peer clinical review and appeals, initial clinical
         reviewers can be located outside of the United States or its territories when performing initial
         clinical review. Please see standards P-HUM 14 and P-HUM 35, which address peer reviewer
         qualifications.
     ●   Initial clinical reviewers may assist in the notification process for non-certifications.
     ●   For drug utilization management review, adequately trained pharmacy technicians are
         acceptable for conducting initial clinical review provided they work under the supervision of a
         pharmacist or are acting within the scope of algorithms.
             ❍  Please reference standard P-HUM 15(a)(i)-(ii) for more information.
             ❍  Pharmacy technicians are individuals who are either certified/ licensed or who have been
                adequately trained. “Adequately trained” means that the individual has been part of an
                extensive training program and/or has had significant experience at a dispensing site.
             ❍  If pharmacy technicians are conducting reviews, they must be certified/ licensed in
                accordance with the state where they are practicing if the state requires it.
             ❍  Adequately trained pharmacy technicians are acceptable for conducting a review provided
                they work under the supervision of a pharmacist or are acting withing the scope of
                algorithms.
             ❍  For non-automated review, pharmacy technicians may not issue clinical non-certifications.

Points to Remember

     ●   P-HUM 10(a): Clinical review staff must have an active license when performing review
         activities; organizations must implement a mechanism for tracking licensure expiration dates.
     ●   P-HUM 10(a): Review the scope of the nurse practice act and/or licensure requirements for
         clinical reviewers for all states in which the organization may provide UM services.
     ●   P-HUM 10(a): An LPN/LVN meets the URAC definition of health professional and this licensure
         category may conduct initial clinical review.
     ●   HUM 10(a): A certified genetic counselor meets the definition of health professional and
         individual practitioners with this certification can conduct initial clinical review. Certified genetic
         counselors may also conduct peer clinical review; for more information, see the supporting
         guide language for standard HUM 14.
     ●   P-HUM 10(b): Initial clinical reviewers must have the appropriate clinical background in order to
         render decisions requiring clinical judgment and experience.
     ●   "Health professionals" is a defined term; please refer to the glossary.

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     ●   For information pertaining to mutual recognition model of nurse licensure and the status of
         legislation for Nurse Licensure Compact for your state, refer to the National Council State
         Board of Nursing web site at www.NCSBN.org.

Scope of Standards

     ●   P-HUM 10 through P-HUM 12 cover the initial clinical review staff and processes.


Evidence for Meeting the Standard - Desktop Review Materials

     ●   Job description for initial clinical reviewers that includes requirements for licensure and
         professional education and experience.
     ●   Written policies and/or documented procedures describing who conducts initial clinical review.

Evidence for Meeting the Standard - Onsite Review Materials and Activities

     ●   Clinical case records illustrating initiation of the review process, pre-review screening, and
         initial clinical review, concurrent review and retrospective review.
     ●   Review of personnel files to include clinical staff credentialing.
     ●   Record of primary source verification of licensure for all clinical reviewers.

Bright Ideas

     ●   In order to avoid changes in licensure status (e.g., restrictions or revocations) occurring without
         the company’s knowledge, develop a policy to require licensed personnel to notify their
         supervisor immediately of any changes in licensure status. Review this policy at the time of hire
         and annually when conducting the performance appraisal.
     ●   Ongoing monitoring of staff licensure through licensure board websites will alert the
         organization to changes in credentialing status. Electronically track using an ‘alert’ function
         when staff licensure or certification is due for renewal will assure timely notification of renewal
         requirements.
     ●   To assure timely notification of renewal requirements, develop a credentialing database that
         includes the licensure review date and expiration date for each clinical staff member for all
         states where licensed; assign an individual(s) to monitor this data base on a monthly basis.
     ●   Develop an attestation statement regarding licensure status. Have the individual review and
         sign the attestation annually at the time the performance appraisal is conducted.

Related Standards




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 Drake v. Tufts Associated Health Maintenance Organization, Inc., Case No. 1:19-cv-11876
                                (District of Massachusetts)

                                      NOTICE OF LAWSUIT

1.      What is this Notice about?
        This Notice is about a lawsuit that you may choose to join.
2.      What is the lawsuit about?
        The lawsuit is about whether “Utilization Review Employees” who worked for Tufts
Associated Health Maintenance Organization, Inc. and Tufts Health Public Plans, Inc. (collectively,
Tufts”) were paid all earned overtime wages. Sally Drake who worked for Defendants as a Nurse
Reviewer in Massachusetts from 2017 to 2019 filed this lawsuit against Tufts.
        The lawsuit claims that Tufts violated federal overtime wage law by not paying “Utilization
Review Employees” overtime when they worked more than 40 hours per week. Tufts denies the
allegations in the lawsuit.
3.      Why did I get this Notice?
        You got this Notice because Tufts identified you as a salaried “Utilization Review Employee”)
that worked for Tufts during the last three years—the time period covered by this lawsuit. Salaried
“Utilization Review Employees” specifically include individuals who (1) were paid on a salary basis;
(2) performed utilization review work; and (3) held job titles including one or more of the following
terms: (1) Utilization; and/or (2) Reviewer.

4.      How do I join the lawsuit?
        You can join the lawsuit multiple ways. You can complete the enclosed/attached Consent to
Join form and mail in the pre-paid envelope, email to [insert email address], or fax to (312) 419-1025.
Or, you can sign the Consent to Join form that was sent to you by email and/or text and submit it
electronically through DocuSign. Your lawyers, identified in Paragraph 9, will file your Consent to
Join form with the Court, so please review it before you sign.
5.      When do I need to submit the Consent to Join form to join the lawsuit?
       To join the lawsuit, you must postmark or return the Consent to Join form by [insert date 63
days from mailing date]. If you do not postmark or return the Consent to Join form by [insert date
63 days from mailing date], you may not be able to join the lawsuit.
6.      What happens if I join the lawsuit?
        If you join this lawsuit, you will be bound by its outcome. This means that if the Tufts
Utilization Review Employees win the lawsuit or obtain a settlement, you may receive a payment. If
the Tufts Utilization Review Employees lose the lawsuit, you will not receive any money.
7.      What happens if I decide not to join the lawsuit?
         If you do not join the lawsuit, you will not be bound by its outcome. This means that regardless
of the result in this lawsuit, you are free to file your own lawsuit, either on your own behalf or through
an attorney.

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8.     Can Tufts retaliate against me for joining this lawsuit?
       No. Federal law prohibits Tufts from firing you or taking any adverse action against you
because you decided to join the lawsuit.
9.     Who will be my lawyers if I join the lawsuit, and how will the lawyers be paid?
         If you join the lawsuit, you will be represented by Travis Hedgpeth, and members of his firm,
The Hedgpeth Law Firm, PC; Jack Siegel and members of his firm, Siegel Law Group PLLC; and
Douglas M. Werman, Maureen A. Salas, and members of their law firm, Werman Salas P.C. and any
of their associated attorneys (contact information in Paragraph 11).
        The lawyers representing the Tufts Utilization Review Employees will only be paid if they win
the lawsuit or obtain a settlement. If either happens, the lawyers may receive their fees and costs from
Tufts and/or may receive a percentage of any money awarded by the Court or obtained through a
settlement. If the Tufts Utilization Review Employees lose the lawsuit, you will not have to pay your
lawyers.
10.    How will I know if I joined the lawsuit?
       Your lawyers will contact you to confirm you joined the case. If you are not contacted in a
reasonable period of time, please contact your lawyers (contact information in Paragraph 11).
11.    How do I get more information about the lawsuit?
      If you have questions about this Notice or the lawsuit, please write, call, or e-mail Travis
Hedgpeth, Jack Siegel, or Douglas Werman. Their respective contact information is listed below.


     Travis M. Hedgpeth                 Douglas M. Werman                      Jack Siegel
 The Hedgpeth Law Firm, PC               Maureen A. Salas               Siegel Law Group PLLC
   5438 Rutherglenn Drive               Werman Salas P.C.              2820 McKinnon, Suite 5009
    Houston, Texas 77096                 77 W. Washington                  Dallas, Texas 75201
      P: (512) 417-5716                      Suite 1402                     P: (214) 790-4454
 E: Travis@hedgpethlaw.com               Chicago, IL 60602             E: Jack@siegellawgroup.biz
                                         P: (312) 419-1008
                                     E: dwerman@flsalaw.com
                                      E: msalas@flsalaw.com




THIS NOTICE HAS BEEN AUTHORIZED BY THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS. THE COURT HAS TAKEN NO POSITION
ON THE MERITS OF THIS LAWSUIT.
PLEASE DO NOT CALL OR WRITE THE JUDGE IN THIS LAWSUIT. THE JUDGE
CANNOT ANSWER QUESTIONS ABOUT THIS LAWSUIT OR THIS NOTICE.



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                   NOTICE OF CONSENT TO BE A PARTY PLAINTIFF

                       Fair Labor Standards Act of 1938, 29 U.S.C. 216(b)

I consent to be a party plaintiff to seek unpaid wages and overtime pay in the case in which this
consent is filed (Drake v. Tufts Associated Health Maintenance Organization, Inc.). By joining
this lawsuit, I designate the named plaintiff(s) in which this consent is filed, and his/her attorneys
(and other persons those individuals designate as necessary) as my representatives to make all
decisions on my behalf, to the extent permitted by law, concerning the method and manner of
conducting the case including settlement, the entering of an agreement with Plaintiff’s counsel
regarding payment of attorneys’ fees and court costs, and all other matters pertaining to this
lawsuit. For purposes of pursuing my unpaid wage and overtime claims I choose to be represented
by the Hedgpeth Law Firm, PC, the Siegel Law Group PLLC, Werman Salas P.C., and other
attorneys with whom they may associate.


Date:__________________________                Signature__________________________________


                                               Printed Name: _____________________________


                      Please Print or Type the Following Information.
This information will not be part of the Public Record and is Necessary for your Attorneys’
                               Files and Potential Settlement.

                  ***Note: This Portion Will NOT Be Filed With the Court***


Cell phone number: ____________________ Home phone number: ______________________

Address: ______________________________________________________________________

City: ______________________________           State: ______    Zip Code: ___________________

Email: ________________________________________________________________________

Location(s) where you worked: ____________________________________________________

Position(s) you held: ____________________________________________________________

Approximate dates of employment: _________________________________________________
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Tufts Health Public Plans Utilization Management
Tufts Health Public Plans has established policies and procedures that govern the utilization
management (UM) program. All UM decisions are based on appropriateness of care, availability of
services, and your patients’ coverage. Providers, UM clinical staff, or consultants are not rewarded for
denying care, and Tufts Health Public Plans does not offer money or financial incentives to encourage
less use of services for network providers, UM clinical staff, or consultants. To request utilization
criteria for any services or to talk to a clinician about any UM denial decision, please call
888.257.1985.
UM policies and procedures
Tufts Health Public Plans policies and procedures address important service issues in delivering UM,
including:
     Decision timeliness
     Internal data-gathering consistency
     Decision-making accountability compared with evidence-based UM criteria and guidelines
     New technology access
     Member and provider UM process satisfaction
Department managers monitor compliance with these policies to ensure that they are consistently
met. Specific cases are expedited based on a member's medical need or based on unique case-related
circumstances.
Utilization review (UR) can also be referred to as UM. UR/UM includes the evaluation of prior
authorization requests for coverage by determining member eligibility, benefit coverage, and medical
necessity of services for the requested level of care. Tufts Health Public Plans can receive prior
authorization requests by fax, mail, or telephone. Providers are responsible for requesting prior
authorization. Tufts Health Public Plans does not require prior authorization for a number of reasons
including conditions that a prudent layperson would consider life- or limb-threatening. Refer to the
prior authorization policy in the Provider Manual for more information.
Appropriately licensed staff members make UM decisions. Qualified licensed healthcare professionals
render or supervise all clinical-coverage review decisions. Staff members who are not qualified
healthcare professionals may collect the clinical documentation for prior authorization and concurrent
review under the supervision of appropriately licensed health professionals and may also have the
authority to approve (but not to deny) coverage for services for which there are criteria/guidelines.
Only qualified, licensed physicians with the appropriate clinical expertise make decisions to deny
coverage. Tufts Health Public Plans established a process to consult with board-certified specialists in
appropriate specialty areas when indicated.
Tufts Health Public Plans are available to answer questions about our UM process, including any UM
denial decisions, and provide clinical access 24 hours a day, seven days a week for inbound and
outbound calls, and other types of communication.
Tufts Health Public Plans can receive inbound communications about UM issues after normal business
hours. On-call staff handles after-hours coverage for medical UM issues. A vendor provides after-hours
coverage for behavioral health UM issues after 5 p.m. Monday through Friday. This behavioral health
on-call service provides coverage to triage service requests as necessary from members and/or
providers, for urgent service authorizations, and pharmacy-related inquiries.
Call 888.257.1985 for UM services and questions.
Request to review UM criteria
Tufts Health Public Plans utilizes criteria to determine the appropriateness of services requested.
Providers may request to review the criteria prior to a UM decision, or in the event of a denial, in the
following ways:
      Via telephone: A clinician will read the criteria over the telephone to you.


Revised 02/2017                                    1                                Utilization Management
6007409                                                                            Tufts Health Public Plans



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      Mail/fax: Tufts Health Public Plans will mail a paper copy to you of the criteria that were
       utilized to make the decision.
      On-site review: You may request an on-site review of the criteria. If Tufts Health Public Plans
       clinical or administrative staff receives such a request, the staff member will forward the call
       to the department manager or director. The manager or director will instruct you to complete
       the Availability of UM Criteria to Practitioner/Request for On-site Visit form. Once Tufts Health
       Public Plans receives the written request, the manager or director will schedule an
       appointment with you to come on site to review the criteria that were utilized to make the UM
       decision. During the scheduled visit, the criteria online via the CCMS system. You also have
       the right to request a physician-to-physician meeting at this time to discuss the criteria
       further.

Tufts Health Public Plans document all requests and visits within the CCMS system.




Revised 02/2017                                2                                   Utilization Management
                                                                                  Tufts Health Public Plans




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Judge Christine M. Arguello

  Civil Action No. 14-cv-01614-CMA-MJW

  ALFONSO AVENDANO, on behalf of himself and others similarly situated,

        Plaintiff,

  v.

  AVERUS, INC., and
  MICHAEL SHANK,

        Defendants.



                     ORDER GRANTING JOINT MOTION TO APPROVE
                      FLSA OPT-IN NOTICE AND CONSENT TO JOIN


        This matter is before the Court on Plaintiff’s Joint Motion for Approval of Fair

  Labor Standards Act (FLSA) Opt-In Notice and Consent to Join (Doc. # 95.). On

  September 29, 2016, the Court issued two Orders in this case: (1) an Order granting

  conditional certification of the national FLSA opt-in class under 29 U.S.C. § 216(b) (Doc.

  # 91) and (2) an Order granting certification of the Colorado class under Rule 23 of the

  Federal Rules of Civil Procedure (Doc. # 92). Both Orders stated that the parties shall

  submit, within fourteen days, proposed class notice forms. To date, neither party has

  submitted a proposed Rule 23 notice as to the Colorado class. The instant Motion

  concerns only the FLSA opt-in class. The Motion indicates the parties have conferred

  and largely agree as to the notice and opt-in consent to join forms (Notice) (Doc. # 95-1)




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  with one exception: sending Notice by text message. After reviewing the parties’

  arguments and the applicable law, the Court grants the Motion, approves the proposed

  Notice, and grants Plaintiff’s request to notify potential class members by text message.

         Section 216(b) of the FLSA provides a unique procedural mechanism allowing

  collective actions for minimum wage and overtime violations. If the district court

  conditionally certifies a class under section 216(b), putative class members are provided

  with court-approved notice and the opportunity to opt in to the action. Hoffman–La Roche

  Inc. v. Sperling, 493 U.S. 165, 170–72 (1989); Hipp v. Liberty Nat. Life Ins. Co., 252 F.3d

  1208, 1218 (11th Cir. 2001). “Under the FLSA, the Court has the power and duty to ensure

  that the notice is fair and accurate, but it should not alter Plaintiff's proposed notice unless

  such alteration is necessary.” Smith v. Pizza Hut, Inc., No. 09-CV-01632-CMA-BNB, 2012

  WL 1414325, at *7 (D. Colo. Apr. 21, 2012).

         The parties agree on the form and substance of the Notice, service deadlines,

  and dissemination of the Notice by First Class Mail. The parties disagree, however, on

  whether the class members should also be notified by text message. Specifically,

  Plaintiff requests permission to distribute the following text message to all class

  members:

                 You may be entitled to join a lawsuit against Averus, Inc. for
                 unpaid wages, including unpaid overtime. Go to this
                 webpage to read about the lawsuit and decide whether or
                 not to join: www.AverusWageLawsuit.com. 1

  (Doc. # 95 at 3.)



  1
    The Court recognizes that this is a temporary URL that is not yet active and that Plaintiff
  intends to use subdomains that will link to the Spanish and English Notices.

                                                   2


                                        Ex. H, p. 2
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         Plaintiff argues that texting is necessary because of “the transient nature of the

  class” with whom “text messaging is the most reliable means of communicat[ion].” (Doc.

  # 95 at 3.) Plaintiff adds that, after Plaintiff’s counsel previously mailed notice forms to

  the FLSA Denver class, thirty-five percent of those notices were returned as

  undeliverable.

         Defendants oppose Plaintiff’s request. Defendants do not dispute, however, the

  transient nature of the class or argue that the Plaintiff has mischaracterized the

  community. Instead, Defendant primarily argues that “[s]ending [n]otice by first class

  mail has been the uniform[] [and preferred] method of serving [n]otice”; “there is no

  reason to believe that sending a text message will be as effective or more effective”

  than sending the Notice by mail; and case law does not support Plaintiff’s request.

  (Doc. # 95 at 5.)

         Given the undisputed transient nature of the class and Plaintiff’s assertion that

  text messaging is the most reliable form of communication, the Court finds that

  notification by text message is likely to be a viable and efficient means of notifying many

  prospective members of this collective action. See Fed. R. Civ. P. 23(c)(2) (A certified

  class must receive “the best notice practicable under the circumstances, including

  individual notice to all members who can be identified through reasonable effort.”);

  Sperling, 493 U.S. at 170 (Potential class members are entitled to receive “accurate and

  timely notice concerning the pendency of the collective action.”). The Court disagrees

  with Defendants that case law does not support this method of dissemination. See,

  e.g., Bhumithanarn v. 22 Noodle Mkt. Corp., No. 14-CV-2625 RJS, 2015 WL 4240985,


                                                3


                                     Ex. H, p. 3
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  at *5 (S.D.N.Y. July 13, 2015). Even if serving notice by U.S. mail is the preferred

  method, nothing in section 216(b) of the FLSA or in FLSA class action jurisprudence

  outright prohibits using more than one form of dissemination, particularly when the

  nature of the class requires it. See id (permitting plaintiffs to post notice on employee

  bulletin boards in addition to using direct mail and text messaging). Accordingly, the

  Court concludes that Plaintiff may provide Notice to potential opt-in class members via

  text message.

         Accordingly the Court GRANTS the Motion (Doc. # 95), APPROVES the

  proposed Notice (Doc. # 95-1), and ORDERS as follows:

     1. The Defendants shall have 14 days from the issuance of this Order to provide

         Plaintiffs with a class list and contact information for the class, including the class

         members’ last known cell phone numbers to the extent they are available;

     2. The Plaintiff shall have 21 days from the issuance of this Order to serve the

         Notice on the class;

     3. The opt-in deadline shall be 91 days from the date the Notice is mailed and

         texted;

     4. The Notice shall be mailed by First Class Mail to the last known addresses of all

         class members;

     5. The following message shall be texted to the last known cell phone numbers of

         all class members:

                You may be entitled to join a lawsuit against Averus, Inc. for
                unpaid wages, including unpaid overtime. Go to this



                                                4


                                     Ex. H, p. 4
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                webpage to read about the lawsuit and decide whether or
                not to join: www.AverusWageLawsuit.com. 2

      6. The Notice shall be made available on a website on or before Plaintiff’s deadline

         to serve the Notice on the class;

      7. Opt-in class members may sign and submit Consent to Join forms digitally on the

         internet using Plaintiff’s Counsel’s DocuSign platform. The publically accessible

         Notice on the internet shall have an access code provided on it so that only

         persons who receive the Notice can access it.

      8. The Notice shall be provided in English and in Spanish.



  DATED: October 25, 2016

                                                             BY THE COURT:


                                                      _______________________________
                                                           CHRISTINE M. ARGUELLO
                                                           United States District Judge




  2
   The Court recognizes that this is a temporary URL that is not yet active. The Plaintiff may use
  subdomains as necessary to include the Spanish and English Notices.

                                                 5


                                      Ex. H, p. 5
